Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2   Filed 02/25/25   Page 1 of 51


            1     Terence G. Banich (SBN 212173)1
                  terence.banich@katten.com
            2     KATTEN MUCHIN ROSENMAN LLP
                  525 W. Monroe St.
            3     Chicago, IL 60661-3693
                  Telephone:    (312) 902-5200
            4     Facsimile:    (312) 902-1061

            5     John E. Mitchell (pro hac vice)
                  Michaela C. Crocker (pro hac vice)
            6     KATTEN MUCHIN ROSENMAN LLP
                  2121 North Pearl St., Ste. 1100
            7     Dallas, TX 75201-2591
                  Telephone:    (214) 765-3600
            8     Facsimile:    (214) 765-3602

            9     Attorneys for the Receiver
                  Lance Miller
           10

           11                                       UNITED STATES DISTRICT COURT

           12                                     EASTERN DISTRICT OF CALIFORNIA

           13
                  THE PRUDENTIAL INSURANCE                             ) No. 1:24-cv-01102-KES-SAB
           14     COMPANY OF AMERICA, et al.,                          )
                                                                       ) DECLARATION OF SKYE ROOT IN
           15                      Plaintiffs,                         ) SUPPORT OF UNOPPOSED
                                                                       ) MOTION OF RECEIVER LANCE
           16              v.                                          ) MILLER FOR ORDER
                                                                       ) AUTHORIZING ENGAGEMENT
           17     ACDF, LLC, et al.                                    ) AND COMPENSATION OF
                                                                       ) CAPSTONE CAPITAL MARKETS
           18                      Defendants.                         ) LLC AS INVESTMENT BANKER
                                                                       )
           19
                                                                         HONORABLE KIRK E. SHERRIFF
           20

           21

           22

           23

           24

           25

           26

           27

           28
                  1
                      Designated as counsel for service pursuant to L.R. 182(c)(1).
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2     Filed 02/25/25       Page 2 of 51


            1     I, Skye Root, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury as follows:

            2              1.     I am over the age of eighteen years, am under no disability, and am competent to

            3     testify to the matters set forth herein. Except as otherwise stated, all facts set forth in this declaration

            4     are based upon my personal knowledge and/or my review of documents. If called as a witness in

            5     this case, I could and would testify competently to the facts set forth in this declaration.

            6              2.     I submit this declaration in support of the Unopposed Motion of Receiver Lance Miller

            7     for Order Authorizing Engagement and Compensation of Capstone Capital Markets LLC as

            8     Investment Banker (the “Motion”).2

            9              3.     I am a Managing Director at Capstone Partners, Inc. and have held that position since

           10     December 2023. As a Managing Director at Capstone Partners, Inc., I am authorized to submit this

           11     declaration on behalf of Capstone Capital Markets LLC (“Capstone”) and in support of the Motion.

           12              4.     Throughout my career, I have specialized in agricultural transaction advisory and

           13     sales, agricultural management, and consulting in the western United States. In this regard, I have

           14     an extensive network of local and regional brokers and farmland buyers across the western United

           15     States. I have completed sales of agricultural properties in seven states, including California,

           16     aggregating over $2.1 billion since 2011. Additionally, I regularly provided in-depth agricultural

           17     management consulting. I also have extensive experience with a wide variety of agricultural

           18     operations, including those similar to the defendants’ farming operations conducted at the Sale

           19     Properties.

           20              5.     Except as otherwise noted, I have personal knowledge of the matters set forth herein.

           21     If called as a witness, I could, and would, testify competently to the matters set forth herein. Certain

           22     of the disclosures herein, however, relate to matters within the personal knowledge of other

           23     professionals at Capstone and are based on information provided to me by such professionals.

           24              6.     A true and correct copy of the Engagement Letter is attached as Exhibit 1 hereto.

           25

           26

           27
                  2
                      All capitalized terms used but not defined in this Declaration shall have the meanings ascribed
           28         to them in the Engagement Letter.
                                                                    2
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2     Filed 02/25/25   Page 3 of 51


            1                                                Capstone’s Qualifications

            2              7.     I believe that Capstone and the professionals it employs are uniquely qualified to

            3     advise the Receiver on the matters for which it is proposed to be employed in a cost effective,

            4     efficient, and expert manner.

            5              8.     Capstone is a full-service investment bank with broad reach to investors throughout

            6     domestic and international markets. For a transaction of this size and nature, Capstone has access to

            7     top national and multinational strategic and financial buyers of agricultural businesses and assets.

            8              9.     The senior bankers leading this engagement, myself and Jerry Sturgill, combine more

            9     than 50 years of investment banking and transactional experience. Both of us have led transactions

           10     for the sale of complex agricultural businesses and assets, including in settings like this one, where

           11     careful analysis and presentation of complex water rights and strategies are central to achieving the

           12     highest potential value. Among their many successful sales transactions, several have been in court-

           13     supervised settings.

           14              10.    For example, I led the bankruptcy auction and sale of the extensive farming and

           15     ranching operations of Easterday Ranches, Inc. in In re Easterday Ranches, Inc., et al., Case No.

           16     21-00141-WLH11, United States Bankruptcy Court, Eastern District of Washington (2021); the sale

           17     by the court-appointed receiver of the blueberry growing and processing operations of Othello

           18     Blueberry in Rabo Agrifinance, LLC v. Othello Blueberry LLC et al., Case No. 23-2-50416-l,

           19     Superior Court of the State of Washington (2023); and the bankruptcy sale of the Mensonides dairy

           20     operations in In re Mensonides Dairy, LLC, No. 18-01681-FLK11, United States Bankruptcy Court

           21     Eastern District of Washington (2019). In addition to my transactional experience, I have deep

           22     experience and expertise with agricultural water rights and delivery systems, farm management, and

           23     crop inputs.

           24              11.    Mr. Sturgill served as the court-appointed Divestiture Trustee and led the Capstone

           25     team in the sale of dairy processing assets acquired by Dairy Farmers of America in the Dean Foods

           26     bankruptcy. United States of America, Commonwealth of Massachusetts and State of Illinois v.

           27     Dairy Farmers of America and Dean Foods, Case No. 20 C 2658, United States District Court for

           28
                                                                        3
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2    Filed 02/25/25      Page 4 of 51


            1     Northern District of Illinois (2020). He has also successfully sold businesses and assets in large

            2     mergers and acquisition transactions both in the United States and abroad. As a former partner of

            3     the law firm Latham & Watkins, he led the New-York-based corporate finance practice for the firm

            4     and was extensively involved in large mergers and acquisitions sponsored by the firm’s clients and

            5     in various corporate restructurings. He has also served as the turnaround CEO of a regional logistics

            6     company.

            7              12.     Capstone also has the benefit of access to teams of analysts and investment bankers

            8     located throughout the United States and abroad. The Capstone agricultural group specifically has

            9     worked on various cross-border transactions in many of the world’s most important agricultural

           10     markets throughout Europe, South America, and Australasia. The firm’s international reach is

           11     further extended through Capstone’s important role as a partner of the International Mergers and

           12     Acquisitions Partnership (IMAP).

           13                                          Services to be Provided by Capstone

           14              13.     Subject to Court order, and consistent with the terms of the Engagement Letter,

           15     Capstone will render the following services (the “Transaction Services”), among others, as

           16     directed by the Receiver:

           17                    (i)    formulating a market strategy for the Transactions;

           18                    (ii)   identifying and contacting potential strategic and/or financial acquirers

           19                           (“Prospective Acquirers”);

           20                    (iii) subject to the guidance and approval of the Receiver, negotiating confidentiality

           21                           agreements with Prospective Acquirors;

           22                    (iv) preparing a Confidential Information Memorandum, management presentations,

           23                           and other marketing materials for use in the marketing process (“Marketing

           24                           Materials”);

           25                    (v)    delivering Marketing Materials to Prospective Acquirors;

           26                    (vi) coordinating introductions, diligence requests, and arranging and conducting

           27                           telephonic or in-person meetings with Prospective Acquirers;

           28
                                                                        4
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2    Filed 02/25/25      Page 5 of 51


            1                    (vii) coordinating the receipt and evaluation of offers or proposals from Prospective

            2                          Acquirers;

            3                    (viii) assisting in evaluation of proposed valuations, transaction structures and related

            4                          terms and conditions;

            5                    (ix) providing the Receiver with periodic status reports and being available to the

            6                          Receiver and his advisors at all reasonable times to discuss any matters relating to

            7                          the Transaction or Transactions;

            8                    (x)   assisting the negotiation and consummation of definitive agreements for each

            9                          Transaction;

           10                    (xi) providing testimony and/or witness services with respect to the Transaction

           11                          process and its completeness before the Court; and

           12                    (xii) such other advisory services as may be customarily provided in connection with

           13                          the analysis and negotiation of Transactions like those contemplated in this

           14                          Agreement and as may be requested and mutually agreed between Capstone and

           15                          the Receiver.

           16                                                    Indemnification

           17              14.    The Engagement Letter contains standard indemnification and limitation of liability

           18     language with respect to Capstone’s services (the “Indemnity”). I believe that the Indemnity is

           19     customary and reasonable for engagements of this type and should be approved.

           20                                                 Proposed Compensation

           21              15.    Capstone has accepted this engagement conditioned upon its ability to be retained in

           22     accordance with its customary terms and conditions of employment, compensated for its services,

           23     and reimbursed for its out-of-pocket expenses incurred in accordance with its customary billing

           24     practices as set forth in the Engagement Letter. As more fully set forth in the Engagement Letter,

           25     the Receiver intends to compensate Capstone for its investment banking services as follows:3

           26

           27
                  3
                      In the event of any inconsistency between this summary and the Engagement Letter, the terms
           28         of the Engagement Letter shall govern.
                                                                   5
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2    Filed 02/25/25     Page 6 of 51


            1            Section 3: Professional Fees. As compensation for the Transaction Services rendered

            2            under the Engagement Letter by Capstone, Capstone will receive payment of the

            3            following fees:

            4            (i)      Retainer Fees: a non-refundable retainer fee of $35,000 payable upon the

            5                     execution and delivery of the Engagement Letter and on the first day of each

            6                     subsequent month during the Term of the Engagement Letter (the “Monthly

            7                     Retainer Fees”). Subject to subparagraph (ii)(b) below, the aggregate amount

            8                     of Monthly Retainer Fees will be fully credited against the Transaction Fee.

            9            (ii)     Transaction Fee: Upon the closing of one or more Transactions involving the

           10                     sale of Sale Property, Capstone shall receive a cash fee equal to one percent

           11                     (1.0%) of the Aggregate Transaction Value (as defined in Section 4 of the

           12                     Engagement Letter) attributable to each Transaction, and upon the closing of

           13                     one or more Transactions involving sale of Excluded Parcels, if any, Capstone

           14                     shall receive a cash fee of two percent (2.0%) (in each case a “Transaction Fee”)

           15                     provided that:

           16                              a)      The aggregate Transaction Fees attributable to all Transactions

           17                                      involving Sale Property and Excluded Parcels shall not be less

           18                                      than five million dollars ($5,000,000) (the “Minimum

           19                                      Transaction Fee”) after credit of Monthly Retainer Fees, and

           20                              b)      If a Lender successfully consummates one or more Transactions

           21                                      as a credit bidder in any Transaction, the Transaction Fee

           22                                      attributable to each such Transaction shall be reduced by twenty

           23                                      five percent (25%).

           24            During the Term of the Engagement Letter, the Transaction Fee, if earned by Capstone

           25            pursuant to the terms herein, shall be payable to Capstone regardless of whether or not

           26            the Prospective Acquirer was introduced by Capstone. In addition, Capstone will be

           27            reimbursed for all reasonable expenses related to the Transaction Services and

           28
                                                                         6
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2   Filed 02/25/25    Page 7 of 51


            1            Transaction(s) described herein, including the reasonable fees and expenses, if any, of

            2            legal counsel, water consultants, or other advisors retained by Capstone in connection

            3            with its performance under the Engagement Letter; provided, however, that the

            4            Receiver shall not be responsible for any single out-of-pocket expense (or series of

            5            related expenses, such as legal or consultant fees paid to the same person or business

            6            expenses incurred on a single business trip) in excess of $1,000 unless the expense is

            7            approved in writing by the Receiver prior to its incurrence.

            8              ***

            9            Section 6: Abandonment Fee. If the Capstone sale process under the Engagement Letter

           10            is abandoned or terminated at any time other than termination for Cause (an

           11            “Abandonment”), Capstone will be paid a cash fee as follows (the “Abandonment

           12            Fee”): (i) the Abandonment Fee will be $0 until Capstone’s marketing materials and

           13            list of Prospective Acquirors have been presented to and approved by the Receiver

           14            (estimated to be completed by March 19, 2025) (“Phase 1”); (ii) following conclusion

           15            of Phase 1 and until the deadline set by the Receiver for receipt of non-binding letters

           16            of intent (“Phase 2”), the Abandonment Fee will be $500,000; (iii) upon the later of (x)

           17            conclusion of Phase 2, and (y) receipt by the Receiver of a non-binding letter of intent

           18            from a Prospective Acquiror anticipating gross consideration of at least $450,000,000

           19            (“Phase 3”) (estimated deadline for receipt of indications of interest – May 14, 2025),

           20            the Abandonment Fee will be $1,000,000; and, (iv) upon the receipt by the Receiver of

           21            a binding offer anticipating gross consideration of at least $450,000,000 (deadline

           22            estimated to be July 9, 2025) and prior to closing (outside closing date estimated to be

           23            September 8, 2025), the Abandonment Fee will be $2,500,000. The Abandonment Fee

           24            will be allocated and payable according to the relative values of Lender collateral

           25            interests (or Company property interests) in the Sale Property; provided, however, that

           26            the following parcels shall be excluded from the calculation of any Abandonment Fee:

           27            APN Nos. 038-130-71S; 038-130-62S; 038-130-35S; 038-200-09S; 038-200-04S;

           28
                                                                       7
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2   Filed 02/25/25     Page 8 of 51


            1            038-141-59S; and 038-210-25S. In the event that a Lender forecloses on any or all of

            2            the Sale Property that serves as its collateral and thereafter such Lender or its

            3            affiliates/related entities take title to such property (a “Lender-Owner”), the

            4            Abandonment Fee apportioned to such property shall be waived and will not be payable

            5            so long as such Lender-Owner reengages Capstone to complete the sale process related

            6            to such property. The Abandonment Fee will be further reduced dollar-for-dollar by the

            7            amount of fees collected by Capstone from sale of Excluded Parcels, if any.

            8     Engagement Letter §§ 3,6.

            9              16.    The essential terms of the Engagement Letter are standard and usual terms that

           10     Capstone includes within its agreements for similar engagements.

           11              17.    It is not the general practice of investment banking firms, including Capstone, to keep

           12     detailed time records similar to those customarily kept by the attorneys and other professionals

           13     employed in this case. Because Capstone, with respect to its investment banking services, does not

           14     ordinarily maintain contemporaneous time records, or provide or conform to a schedule of hourly

           15     rates for professionals, coupled with the fact that Capstone’s fees are results driven, Capstone

           16     requests that it be excused from compliance with any such requirements.

           17              18.    Consistent with the Engagement Letter, it is Capstone’s policy to charge its clients in

           18     all areas of practice for identifiable, non-overhead expenses incurred in connection with the client’s

           19     case that would not have been incurred except for representation of that particular client. It is also

           20     Capstone’s policy to charge its clients only amounts actually incurred by Capstone in connection

           21     with such items. Examples of such expenses include outside counsel costs, outside copy services,

           22     travel, lodging, meals, and services of outside vendors.

           23              I declare under penalty of perjury under the laws of the United States of America that the

           24     foregoing is true and correct.

           25

           26

           27

           28
                                                                       8
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
Docusign Envelope ID: 15010B00-589D-4283-99D0-7A18FB9AA518

                Case 1:24-cv-01102-KES-SAB                   Document 157-2       Filed 02/25/25   Page 9 of 51


            1     Executed on February 24, 2025
            2     In Boise, Idaho
            3

            4                                                              By:
                                                                                 Skye Root
            5

            6

            7

            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
                                                                       9
                                                        No. 1:24-cv-01102-KES-SAB
                     DECLARATION OF SKYE ROOT IN SUPPORT OF UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR ORDER
                   AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
 Case 1:24-cv-01102-KES-SAB                Document 157-2        Filed 02/25/25     Page 10 of 51




ENGAGEMENT AGREEMENT

This Engagement Agreement (the “Agreement”) is made by and between Lance Miller, solely in
his capacity as court-appointed receiver as described below (the “Receiver”), and Capstone Capital
Markets LLC (“Capstone”).

The Receiver is acting under the authority of the United States District Court, Eastern District of
California, Fresno Division (the “Court”), in the pending cases styled (a) The Prudential Insurance
Company et al. v. ACDF, LLC et al, Case No. 1:24-cv-01102-KES-SAB and (b) Federal
Agricultural Mortgage Corporation v. Assemi Brothers, LLC et al., Case No. 1:24-cv-01455-KES-
SAB (together with any other cases that are related to the foregoing cases and are pending, now or
hereafter, before the Court in which Lance Miller, now or hereafter, is appointed as receiver,
the “Cases”) and pursuant to orders of the Court appointing Lance Miller as receiver (1:24-cv-
01102-KES-SAB, Dkt. No. 120 and Case No. 1:24-cv-01455-KES-SAB, Dkt. No. 29, together
the “Receivership Orders” and each a “Receivership Order”). The Receivership Orders, among
other things, authorize the Receiver to dispose of the real property identified on Appendix B
hereto (the “Sale Property”), which Sale Property is subject to the loans and collateral rights of the
lenders as described in the applicable Receivership Order (collectively, the “Lenders”) to Maricopa
Orchards, LLC and certain of its affiliates as identified on Appendix A hereto (collectively,
the “Company”). Capitalized terms not otherwise defined in the Agreement have the meanings
provided in the applicable Receivership Order.

Section 1: Engagement. The Receiver hereby engages Capstone to act as the sole and exclusive
investment banking advisor in connection with the sale of the Sale Property in a transaction or
series of transactions (each a “Transaction” and, collectively, the “Transactions”), as well as an
exclusive advisor with respect to the properties listed on Appendix C (as may be amended, the
“Excluded Parcels”). The term “Sale Property” shall include any properties that become Sale
Property after the date hereof pursuant to any Exhibit hereto and the term “Lenders” shall include
any parties that join in this Agreement after the date hereof pursuant to any Exhibit hereto. Sale
Property may be reclassified as Excluded Parcels, and vice versa, by a written agreement of the
Receiver and Capstone.

Section 2: Scope of Services.

       (a)     For sale of the Sale Property, Capstone’s services shall include assisting and
advising with respect to the following (subparagraphs (i) through (xiii) collectively,
the “Transaction Services”):

            (i)    formulating a market strategy for the Transactions;

            (ii)   identifying and contacting potential strategic and/or financial acquirers
                   (“Prospective Acquirers”) and providing a list of Prospective Acquirors to Receiver



TRANSACTION ENGAGEMENT AGREEMENT                                                           Page 1 of 34
302469183
 Case 1:24-cv-01102-KES-SAB               Document 157-2         Filed 02/25/25      Page 11 of 51




                  upon request and, in no event, later than thirty (30) days of the termination of this
                  Agreement;

            (iii) subject to the guidance and approval of the Receiver, negotiating confidentiality
                  agreements with Prospective Acquirors;

            (iv) preparing a Confidential Information Memorandum, management presentations,
                 and other marketing materials for use in the marketing process (“Marketing
                 Materials”);

            (v)   delivering Marketing Materials to Prospective Acquirors;

            (vi) coordinating introductions, diligence requests, and arranging and conducting
                 telephonic or in-person meetings with Prospective Acquirers;

            (vii) coordinating the receipt and evaluation of offers or proposals from Prospective
                  Acquirers;

            (viii) assisting in evaluation of proposed valuations, transaction structures and related
                   terms and conditions;

            (ix) providing the Receiver with periodic status reports and be available to the Receiver
                 and his advisors at all reasonable times to discuss any matters relating to the
                 Transaction or Transactions;

            (x)   assisting the negotiation and consummation of definitive agreements for each
                  Transaction;

            (xi) assisting the Receiver in apportioning values among various properties included as
                 Sale Property for purposes of apportioning fees under this agreement and sale
                 proceeds among the Sale Property;

            (xii) providing testimony and/or witness services with respect to the Transaction process
                  and its completeness before the Court;

            (xiii) such other advisory services as may be customarily provided in connection with the
                   analysis and negotiation of Transactions like those contemplated in this Agreement
                   and as may be requested and mutually agreed between Capstone and the Receiver.

        (b)      Capstone agrees that it shall (i) maintain all licenses, permits and other
governmental authorizations of any kind required to perform the services contemplated herein, and
(ii) provide all of the services in a professional manner, consistent in all respects with applicable
law and generally accepted industry practices.




TRANSACTION ENGAGEMENT AGREEMENT                                                            Page 2 of 34
302469183
 Case 1:24-cv-01102-KES-SAB             Document 157-2         Filed 02/25/25       Page 12 of 51




        (c)    The Receiver will reasonably cooperate with Capstone in its performance of the
Transaction Services, including but not limited to promptly responding to requests for information
regarding the Sale Property, assembly and maintenance of a virtual data room, and access to the
Sale Property for visits by Prospective Acquirors. Unless otherwise agreed in writing, Capstone
will take direction in performance of the Transaction Services exclusively from the Receiver;
however (and not withstanding anything to the contrary), the Receiver will continue to be bound
by all consultation, notice, veto, and consent rights contained in the Receivership Orders for all
purposes under this Agreement.

        (d)     To maximize potential proceeds in a Transaction or Transactions for the sale of the
Sale Property, Capstone and the Receiver will determine together (i) which parcels of the Sale
Property should be bundled and marketed together to achieve the highest potential market and
which Excluded Parcels may be sold separately, (ii) which Free and Clear Properties and other
assets and ownership interests (specifically, in water companies) should be included in a
Transaction, and (iii) which properties of third-parties adjacent to, bounded by, or otherwise
related to parcels of Sale Property may be included in a Transaction upon agreement of their
owners. Subject to these determinations, the Receiver and Capstone will consult and cooperate
together to promptly present and negotiate the terms of (a) an agreement with the
MetLife/Brighthouse receiver, Phillip Christensen of AgriGlobe, appointed in Case Nos. 24-
01226, 24-01230, 24-01231, 24-01232, 24-01233, 24-01235, 24-01241, and 24-01261 pending
before the Court, in substantially the form attached as Exhibit A; (b) an agreement with the
Company in substantially the form of attached Exhibit B; (c) agreements with landowners owning
properties adjacent, bounded by or otherwise related to the parcels of Sale Property willing to
participate in a Transaction in substantially the form of attached Exhibit C; and (d) agreements
with additional lenders to the Company or its affiliates willing to participate in the Transactions in
substantially the form of attached Exhibit D (Exhibits A-D are each individually a “Letter
Agreement”).

      (e)     Capstone does not guarantee the consummation of a Transaction or Transactions.
Capstone, for all purposes hereunder, shall be an independent contractor and any duties of
Capstone arising out of its engagement pursuant to this Agreement shall be owed solely to the
Receiver.

        (f)    This Agreement is not intended in any way to create the relationship of principal or
agent by or between the Receiver and Capstone, nor shall this Agreement be deemed to have
established a partnership or joint venture. The Receiver shall have the sole and absolute right to
accept or reject any offer received from Prospective Acquirers, and any Transaction Fee (as
defined in Section 3 below) payable hereunder shall be paid only if and when Transactions are
consummated.

        (g)     The Receiver acknowledges that Capstone has been retained hereunder solely as an
advisor to the Receiver and not as an advisor to or agent of any other person, and that the
engagement of Capstone is as an independent contractor and not in any other capacity, including
as a fiduciary.



TRANSACTION ENGAGEMENT AGREEMENT                                                           Page 3 of 34
302469183
 Case 1:24-cv-01102-KES-SAB               Document 157-2        Filed 02/25/25     Page 13 of 51




        (h)     The Receiver further acknowledges that he is not relying on the advice of Capstone
for tax, legal, or accounting matters, and will rely on the advice of his own professionals and
advisors for such matters and will make an independent analysis and decision regarding any
Transaction(s) based upon such advice.

       (i)     It is understood that any information or advice rendered by Capstone or any of its
representatives in connection with this Agreement is for the confidential use of the Receiver and
will not be reproduced, disseminated, summarized, described, quoted, or referred to or given to
any other person, other than Lenders and their authorized agents and representatives, at any time,
in any manner, or for any purpose without Capstone’s prior written consent.

Section 3: Professional Fee. As compensation for the Transaction Services rendered hereunder by
Capstone, Capstone will receive payment of the following fees:

       (a)      Engagement Fee: A non-refundable, one-time cash fee in the aggregate amount of
$100,000 (the “Engagement Fee”), due and payable by the Receiver upon the full execution and
delivery of this Agreement (the “Effective Date”).

        (b)    Monthly Retainer Fees: A non-refundable cash retainer fee of $35,000 payable by
the Receiver thirty days after: (A) the Effective Date and (B) the last day of each subsequent
calendar month during the Term of this Agreement (the “Monthly Retainer Fees”). To the extent
this Agreement terminates prior to a month end, the Monthly Retainer Fees will be pro-rated on a
daily basis. Subject to subparagraph (c) below, the aggregate amount of the Engagement Fee and
the Monthly Retainer Fees will be fully credited against the Transaction Fees in accordance with
the Lender allocations provided in subparagraph (e) below.

        (c)    Transaction Fees: Upon the closing of one or more Transactions involving the sale
of Sale Property, Capstone shall receive a cash fee equal to one percent (1.0%) of the Transaction
Value (as defined in Section 4 below) attributable to each Transaction, and upon the closing of one
or more Transactions involving sale of Excluded Parcels, if any, Capstone shall receive a cash fee
of two percent (2.0%) (in each case a “Transaction Fee”); provided that:

            (i)   The aggregate Transaction Fees attributable to all Transactions involving Sale
                  Property and Excluded Parcels shall not be less than five million dollars
                  ($5,000,000) (the “Minimum Transaction Fee”) after credit of Engagement Fee and
                  Monthly Retainer Fees (which, for purposes of clarity, shall be applied to and
                  reduce the Minimum Transaction Fee on a dollar-for-dollar basis); and

        (ii)      If a Lender successfully consummates one or more Transactions as a credit bidder
                  in any Transaction, the Transaction Fee attributable to each such Transaction shall
                  be reduced by twenty five percent (25%) and such Transaction Fee (plus the 25%
                  reduction thereto) shall reduce any Minimum Transaction Fee balance then
                  outstanding on a dollar-for-dollar basis. This Section 3(c)(ii) shall be fully
                  renegotiable in the event a petition in bankruptcy is filed by or against the
                  Company.


TRANSACTION ENGAGEMENT AGREEMENT                                                          Page 4 of 34
302469183
 Case 1:24-cv-01102-KES-SAB             Document 157-2         Filed 02/25/25      Page 14 of 51




For the avoidance of doubt, in Transaction(s) involving both Sale Property and Excluded Parcels,
the Transaction Fee for Sale Property will not exceed a cash fee equal to one percent (1.0%) of the
Transaction Value attributable to Sale Property and the Transaction Fee for Excluded Parcels shall
not be less a cash fee of two percent (2%) of the Transaction Value attributable to Excluded
Parcels.

        (d)    During the Term of this Agreement, the Transaction Fee, if earned by Capstone
pursuant to the terms herein, shall be payable to Capstone regardless of whether or not the
Prospective Acquirer was introduced by Capstone. In addition, Capstone will be reimbursed for
all reasonable expenses related to the Transaction Services and Transaction(s) described herein,
including the reasonable fees and expenses, if any, of legal counsel, water consultants, or other
advisors retained by Capstone in connection with its performance under this Agreement; provided,
however, that Receiver shall not be responsible for any single out-of-pocket expense (or series of
related expenses, such as legal or consultant fees paid to the same person or business expenses
incurred on a single business trip) in excess of $1,000 unless the expense is approved in writing
by the Receiver prior to its incurrence.

        (e)     The Receiver will allocate the fees set forth in this Section 3 as follows: (i) with
respect to the Engagement Fee, according to the relative pro rata acreage of each Lender’s
collateral interests in the Sale Property; and (ii) with respect to the Monthly Retainer Fees,
according to the relative pro rata acreage of each Lender’s collateral interests in the Sale Property
that has not been sold at the time that such Monthly Retainer Fees become due. If any Lender joins
this Agreement after the Effective Date, the Engagement Fee and Monthly Fee will be allocated
and payable as set forth in the applicable Letter Agreement.

Section 4: Transaction Value. For the purposes of calculating the Transaction Fee, the “Transaction
Value” for a Transaction shall be the gross proceeds and other consideration paid to, or received
by, or to be paid to or received by the Receiver or any of the Lenders in connection with the
relevant Transactions. Such proceeds and consideration shall be deemed to include, without
limitation, the following to the extent paid or assumed by purchaser: cash, notes, securities, and
other property; payments made in installments; and change of control bonuses, retention payments,
or similar arrangements and/or Contingent Payments (as defined below). The term “Contingent
Payments” shall mean the consideration received by the Receiver or the Lenders placed in escrow,
deferred installments of purchase price, or any other deferred payments. For the sake of clarity,
Contingent Payments shall only be included in the Transaction Value if the Contingent Payments
are actually made to and received by the Receiver or the Lenders. For the avoidance of doubt, the
amount of the Transaction Fee that is payable at the closing of a Transaction will be determined
as set forth above without taking into account the value of any Contingent Consideration and
additional installments of the Transaction Fee will be payable in respect of each payment of
Contingent Consideration if, as, and when such Contingent Consideration is paid to or received by
the Receiver or the Lenders.

Section 5: Term and Termination.

        (a)      This Agreement shall be in effect (the “Term”) from the Effective Date until the
earlier of: (i) forty-five days after the Effective Date in the event the Receiver fails to obtain a

TRANSACTION ENGAGEMENT AGREEMENT                                                          Page 5 of 34
302469183
 Case 1:24-cv-01102-KES-SAB             Document 157-2         Filed 02/25/25      Page 15 of 51




Court order approving the Agreement, which date may be extended by prior written agreement of
the Receiver and the applicable Lender; and (ii) termination (A) by the Receiver or Capstone upon
thirty (30) days prior written notice to the other party, (B) by the Receiver upon written notice to
Capstone if Capstone breaches the Agreement in any material respect and fails to cure the breach
within 30 days of written notice of such breach (“Cause”), (C) upon the occurrence of a Bankruptcy
Termination; (D) upon the date that the Receiver shall cease to be Receiver, or (E) as set forth in
any further order of the Court. The Receiver and Capstone expressly acknowledge and agree that
the provisions of Sections 3 through 13 and 16, inclusive, shall survive any termination of this
Agreement.

        (b)     Notwithstanding the termination of this Agreement for any reason other than (i) a
termination by Capstone, (ii) a termination by the Receiver for Cause, (iii) a Bankruptcy
Termination (defined below), or (iv) the failure of the Receiver to obtain a Court order approving
this Agreement within forty-five days after the Effective Date (which date may be extended by
prior written agreement of the Receiver and the applicable Lender) (in which case Section 15 shall
apply), the Receiver will remain obligated to pay to Capstone the Transaction Fee if within 12
months after the date of such termination, a Transaction is consummated by Receiver involving a
Prospective Acquirer that prior to termination of this Agreement had been: (A) contacted by
Capstone in writing with respect to a Transaction; (B) made aware of a Transaction through the
efforts of or material produced by Capstone, either directly or indirectly; (C) identified by
Capstone as a potential interested party and the Receiver instructed Capstone in writing not to
contact that party; or (D) otherwise expressed interest in writing in a Transaction with the Receiver
during the Term of this Agreement. Any Transaction Fee payable under this Section 5 shall be
reduced dollar-for-dollar by any Abandonment Fee previously paid with respect to the same Sale
Property under Section 6.

         (c)    Upon expiration of the Term, Capstone shall: (i) deliver to Receiver all materials
and supplies, keys, contracts and documents, and such other accounting papers and records
pertaining to this Agreement in Capstone’s possession, as Receiver shall reasonably request; and
(ii) deliver to Receiver all marketing materials related to the Sale Property and the Excluded
Parcels in Capstone’s possession, including, without limitation, all brochures, marketing boards,
architectural renderings, and photographs (digital and printed) created specifically and solely for
the Property.

Section 6: Abandonment Fee. If this Agreement is abandoned or terminated at any time other than
termination for Cause (an “Abandonment”), Capstone will be paid a cash fee as follows (the
“Abandonment Fee”): (i) the Abandonment Fee will be $0 until Capstone’s marketing materials
and list of Prospective Acquirors have been presented to and approved by the Receiver (estimated
to be completed by March 19, 2025) (“Phase 1”); (ii) following conclusion of Phase 1 and until
the deadline set by the Receiver for receipt of non-binding letters of intent (“Phase 2”), the
Abandonment Fee will be $500,000; (iii) upon the later of (x) conclusion of Phase 2, and (y) receipt
by the Receiver of a non-binding letter of intent from a Prospective Acquiror anticipating gross
consideration of at least $450,000,000 (“Phase 3”) (estimated deadline for receipt of indications
of interest – May 14, 2025), the Abandonment Fee will be $1,000,000; and, (iv) upon the receipt
by the Receiver of a binding offer anticipating gross consideration of at least $450,000,000
(deadline estimated to be July 9, 2025) and prior to closing (outside closing date estimated to be

TRANSACTION ENGAGEMENT AGREEMENT                                                          Page 6 of 34
302469183
 Case 1:24-cv-01102-KES-SAB              Document 157-2         Filed 02/25/25      Page 16 of 51




September 8, 2025), the Abandonment Fee will be $2,500,000. The Abandonment Fee will be
allocated and payable according to the relative values of Lender collateral interests (or Company
property interests) in the Sale Property; provided, however, that the following parcels shall be
excluded from the calculation of any Abandonment Fee: APN Nos. 038-130-71S; 038-130-62S;
038-130-35S; 038-200-09S; 038-200-04S; 038-141-59S; and 038-210-25S. In the event that a
Lender forecloses on any or all of the Sale Property that serves as its collateral and thereafter such
Lender or its affiliates/related entities take title to such property (a “Lender-Owner”), the
Abandonment Fee apportioned to such property shall be waived and will not be payable so long
as such Lender-Owner reengages Capstone to complete the sale process related to such property.
The Abandonment Fee will be further reduced dollar-for-dollar by the amount of fees collected by
Capstone from sale of Excluded Parcels, if any.

Section 7: Representations.

        (a)     The Receiver hereby represents and warrants that, to his knowledge, all facts,
figures, information, and additional supporting documentation provided to Capstone and
pertaining to the Company and the Sale Property are true and accurate in all material respects. The
Receiver understands and acknowledges that Capstone will rely on such facts, figures, and other
information when describing and promoting a Transaction to potential Prospective Acquirers
without making an investigation into the accuracy of such representations. As such, the Receiver
will actively participate in the preparation of any descriptive materials related to a Transaction and
assume sole responsibility for the content of said materials.

        (b)     If during the Term of this Agreement, the Receiver or any of his employees or
agents is contacted by or on behalf of any prospective purchaser or other third party concerning
the possibility of a Transaction, they will promptly so inform Capstone and will refer any such
persons to Capstone.

Section 8: Indemnification.

        (a)     The Receiver, solely in his capacity as Court-appoint receiver, will (i) indemnify
and hold harmless Capstone, its officers, directors, members, managers, employees, affiliates,
consultants, and agents or assignees (collectively, the “Capstone Indemnified Persons”) from and
against any and all losses, claims, damages, or liabilities to which any Capstone Indemnified
Person may become subject arising in any manner out of or in connection with the rendering of
services by Capstone hereunder, unless (x) such losses, claims, damages, or liabilities are in respect
of expenses not subject to reimbursement under Section 3(d) hereof or (y) it is finally determined
by a court or arbitral tribunal that such losses, claims, damages, or liabilities are solely the result
of Capstone’s gross negligence or willful misconduct; and (ii) reimburse each Capstone
Indemnified Person promptly for all legal and other reasonable and documented expenses
reasonably incurred by it in connection with investigating, preparing to defend or defending, or
providing evidence in or preparing to serve or serving as a witness with respect to, any lawsuits,
investigations, claims, or other proceedings arising in any manner out of or in connection with the
rendering of services by Capstone hereunder, unless it is finally determined by a court or arbitral
tribunal that Capstone’s services forming the basis of such lawsuits, investigations, claims, or other
proceedings were performed with gross negligence or willful misconduct.

TRANSACTION ENGAGEMENT AGREEMENT                                                            Page 7 of 34
302469183
 Case 1:24-cv-01102-KES-SAB             Document 157-2        Filed 02/25/25      Page 17 of 51




         (b)    Capstone will (i) indemnify and hold harmless the Receiver, its officers, directors,
members, managers, employees, affiliates, consultants, and agents or assignees (collectively, the
“Receiver Indemnified Persons”) from and against any and all losses, claims, damages, or
liabilities to which any Receiver Indemnified Person may become subject arising directly from
Capstone’s gross negligence or willful misconduct as finally determined by a court or arbitral
tribunal; and (ii) reimburse each Receiver Indemnified Person promptly for all legal and other
reasonable and documented expenses reasonably incurred by it in connection with investigating,
preparing to defend or defending, or providing evidence in or preparing to serve or serving as a
witness with respect to, any lawsuits, investigations, claims, or other proceedings arising directly
from such gross negligence or willful misconduct.

        (c)      The indemnification and reimbursement commitments set forth in this Section 8
shall apply whether or not either Capstone, or any Capstone Indemnified Person, or Receiver, or
any Receiver Indemnified Person, is a formal party to any lawsuit, investigation, claim, or other
proceeding and whether or not any such Capstone Indemnified Person is at the time affiliated with
Capstone or any such Receiver Indemnified Person is at the time affiliated with the Receiver.
Without: (i) Capstone’s prior written consent, such consent not to be unreasonably withheld or
delayed, the Receiver will not enter into any settlement of a lawsuit, claim, or other proceeding
arising out of the transactions contemplated by this Agreement to which Capstone or any Capstone
Indemnified Person is an actual party or, in the reasonable judgment of such party, is a potential
party, unless such settlement includes an explicit and unconditional release from the party bringing
such lawsuit, claim, or other proceeding of Capstone and/or all Capstone Indemnified Persons; or
(ii) Receiver’s prior written consent, such consent not to be unreasonably withheld or delayed,
Capstone will not enter into any settlement of a lawsuit, claim, or other proceeding arising out of
the transactions contemplated by this Agreement to which Receiver or any Receiver Indemnified
Person is an actual party or, in the reasonable judgment of such party, is a potential party, unless
such settlement includes an explicit and unconditional release from the party bringing such lawsuit,
claim, or other proceeding of Receiver and/or all Receiver Indemnified Persons.

        (d)    If indemnification is to be sought hereunder, then the party seeking indemnification
shall promptly notify the indemnifying party of the assertion of a claim or demand or the
commencement of any action or proceeding in respect thereof; provided, however, that the failure
to so notify shall not relieve an indemnifying party from any liability it may have to such party
seeking indemnification pursuant to this Section 8 except to the extent that such party has been
prejudiced in any material respect by such failure or from any liability it may have to the party
seeking indemnification other than pursuant to this Section 8. Notwithstanding the above,
following such notification, an indemnifying party may elect in writing to assume the defense of
such action or proceeding, and, upon such election, it shall not be liable for any legal costs
subsequently incurred by such party seeking indemnification (other than reasonable costs of
investigation and providing evidence) in connection therewith, unless (i) the indemnifying party
has failed to provide counsel reasonably satisfactory to such party seeking indemnification in a
timely manner, (ii) counsel which has been provided by the indemnifying party reasonably
determines that its representation of such party seeking indemnification would present it with a
conflict of interest for which such representation is inappropriate under applicable rules of
professional conduct, or (iii) legal counsel for the party seeking indemnification reasonably


TRANSACTION ENGAGEMENT AGREEMENT                                                         Page 8 of 34
302469183
 Case 1:24-cv-01102-KES-SAB            Document 157-2         Filed 02/25/25     Page 18 of 51




determines that is a conflict of interest for which such representation is inappropriate under
applicable rules of professional conduct.

        (e)    Notwithstanding anything to the contrary in this Agreement, Capstone
acknowledges and expressly agrees that the Receiver is entering into this Agreement solely in his
capacity as Court-appointed receiver and shall have no personal liability for any claims arising
under or related to this Agreement, including any indemnification-related claims. Any liability
arising under or related to this Agreement shall be the sole responsibility of the receivership
estate(s).

Section 9: Disclosure. Subject to Section 17 below, the Receiver agrees that upon consummation
of all of the Transaction(s) contemplated herein, Capstone may, at Capstone’s expense, advertise
and otherwise disclose its role in effecting such Transaction(s); provided that (i) Capstone will
consult with the Receiver prior to issuing any public statement, press release, or advertisement;
(ii) Capstone shall not include the price, value, or terms of any financing with respect of the
Transaction without the consent of the Receiver; and (iii) Capstone shall not include the identity
of the applicable Lender without the prior written consent of each such Lender. For the avoidance
of doubt, if this Agreement is abandoned or terminated prior to the consummation of all of the
Transaction(s) contemplated herein, Capstone may only advertise and disclose its role in effecting
the Transaction(s) that actually closed prior to such abandonment or termination, and shall not
reference such abandonment or termination in such advertisement or disclosure, subject to the
terms and conditions hereof.

Section 10: Forbearance. Any forbearance by Capstone or the Receiver in exercising any of their
respective rights under this Agreement shall not be considered a waiver of such right(s). Any
waiver must be expressly granted in writing and a waiver on any one occasion shall not be
construed as a waiver on any future occasion.

Section 11: Notification. Any notices pursuant to this Agreement shall be in writing and shall be
deemed sufficiently given when sent and on the date of posting, by certified mail, return receipt
requested, overnight delivery, or similar messenger service, to the respective addresses of
Capstone and the Receiver set forth below or other address specified by one party by written notice
to the other party.

                             Capstone Capital Markets LLC
                               176 Federal St., 3rd Floor
                               Boston, MA 02110

                             Lance Miller
                               Pivot Group
                               1230 Rosecrans Ave Suite 530
                               Manhattan Beach, CA 90266

                                With copy to:



TRANSACTION ENGAGEMENT AGREEMENT                                                        Page 9 of 34
302469183
 Case 1:24-cv-01102-KES-SAB              Document 157-2         Filed 02/25/25      Page 19 of 51




                                 Katten Muchin Rosenman LLP
                                 Attn: John Mitchell
                                 2121 North Pearl Street, Suite 1100
                                 Dallas, TX 75201-2494


Section 12: Governance.

        (a)    This Agreement incorporates the entire understanding between the Receiver and
Capstone and supersedes all previous agreements relating to the subject matter hereof. This
Agreement may not be amended or modified except in a writing signed by the Receiver and
Capstone. This Agreement shall be binding upon and inure to the benefit of the Receiver and
Capstone and their respective successors and assigns. If any term or provision of this Agreement
shall to any extent be deemed illegal, invalid, or unenforceable, the remainder of this Agreement
shall not be affected thereby, and each term and provision of this Agreement shall be valid and
enforceable to the fullest extent permitted by law.

        (b)      This Agreement shall be governed by and construed and enforced in accordance
with the laws of the State of California. The Receiver and Capstone hereby irrevocably and
unconditionally consent to submit to the exclusive jurisdiction of the Court and, in the event the
Court does not have or declines jurisdiction over the parties hereto, then to the courts of the State
of California located in Fresno County for any lawsuits, actions, or other proceedings arising out
of or relating to this Agreement and agree not to commence any such lawsuit, action, or other
proceeding except in such courts. The Receiver and Capstone further agree that service of any
process, summons, notice, or document by mail to their respective addresses set forth above shall
be effective service of process for any lawsuit, action, or other proceeding brought against either
party in any such court. The Receiver and Capstone hereby irrevocably and unconditionally waive
any objection to the laying of venue of any lawsuit, action, or other proceeding arising out of or
relating to this Agreement in the Court or, if the Court declines jurisdiction, the courts of the State
of California, and hereby further irrevocably and unconditionally waive and agree not to plead or
claim in any such court that any such lawsuit, action, or other proceeding brought in any such court
has been brought in an inconvenient forum. Any right to trial by jury with respect to any lawsuit,
claim, or other proceeding arising out of or relating to this Agreement or the services to be rendered
by Capstone hereunder is expressly and irrevocably waived.

       (c)     This Agreement has been and is made solely for the benefit of the Receiver,
Capstone, and their respective successors and assignees, and no other person shall acquire or have
any right under or by virtue of this Agreement. By signing below, the parties hereby understand
and agree to the full terms, conditions, and provisions of this Agreement and further represent and
warrant that the undersigned are duly authorized to enter into this Agreement which shall be
binding and enforceable in accordance with its terms.

Section 13: Chapter 11. In the event the Company and the Sale Property are the subject of a
voluntary or involuntary petition(s) under Chapter 11 or 7 of the Bankruptcy Code:



TRANSACTION ENGAGEMENT AGREEMENT                                                          Page 10 of 34
302469183
 Case 1:24-cv-01102-KES-SAB             Document 157-2        Filed 02/25/25      Page 20 of 51




        (a)     In the event the Receiver is vested by the Company or the bankruptcy court having
jurisdiction over the Company’s bankruptcy case(s) (the “Bankruptcy Court”) with authority to act
on behalf of the Company, the Receiver may apply to the Bankruptcy Court for the approval
pursuant to sections 327 and 328 of the Bankruptcy Code of: (i) this Agreement to continue the
process of selling the Sale Property; and (ii) Capstone’s retention by the Company under the terms
of this Agreement and subject to the standard of review provided in section 328(a) of the
Bankruptcy Code and not subject to any other standard of review under section 330 of the
Bankruptcy Code.

       (b)     Capstone shall have no obligation to provide Transaction Services under this
Agreement in the event that the Company becomes a debtor under the Bankruptcy Code unless
Capstone’s retention under the terms of this Agreement is approved under Section 328(a) of the
Bankruptcy Code by a final order entered by the Bankruptcy Court that is no longer subject to
appeal, rehearing, reconsideration, or petition for certiorari, and which order is acceptable to
Capstone in all respects (any such termination or failure to obtain the Bankruptcy Court’s approval
of Capstone’s retention, a “Bankruptcy Termination”).

        (c)     Capstone acknowledges that in the event that the Bankruptcy Court approves its
retention by the Company, Capstone’s fees and expenses shall be subject to the jurisdiction and
approval of the Bankruptcy Court under section 328(a) of the Bankruptcy Code and any applicable
fee and expense guideline orders; provided, however, that, to the extent time records are required,
Capstone will keep them in one-half hour increments or such other increments as the Bankruptcy
Court requires.

Section 14. No Assignment. No Party may assign any right, benefit, or interest in this Agreement
without the written consent of the other party, which consent may not be unreasonably withheld.

Section 15. Court Approval. Receiver shall seek and pursue in good faith entry by the Court of
such order(s) as may be required to effectuate the transaction(s) contemplated herein, including
orders approving this Agreement. Capstone shall cooperate with the Receiver to obtain all requisite
Court approvals. Receiver shall keep Capstone updated on the ongoing status of the Court approval
of this Agreement and any court actions, if any. If Court orders approving this Agreement are not
secured within forty-five (45) days of the Effective Date for any reason whatsoever (or such later
date as may be agreed to in writing between the Receiver and the applicable Lender), then this
Agreement shall, without further notice, be null and void and of no further force and effect and
Capstone shall not be entitled to commission or other fees earned thereafter. Capstone, however,
will not be required to disgorge commissions or fees paid during the Term of this Agreement.

Section 16 Pending Receivership. Notwithstanding anything to the contrary in this Agreement or
any ancillary documents, Capstone acknowledges and expressly agrees that the Receiver is
entering into this Agreement solely in his capacity as Court-appointed receiver and neither he nor
Pivot Management Group, LLC shall have any liability for claims arising under or related to this
Agreement. Any liability arising under or related to this Agreement shall be the sole responsibility
of the applicable receivership estate(s). Capstone agrees that this Agreement and all documents
executed in connection herewith or therewith, are executed and delivered by Receiver, not in his
own right, but solely in the exercise of and subject to the powers conferred upon him by the Court,

TRANSACTION ENGAGEMENT AGREEMENT                                                        Page 11 of 34
302469183
 Case 1:24-cv-01102-KES-SAB           Document 157-2        Filed 02/25/25     Page 21 of 51




and that no liability, personal or otherwise, is assumed by, nor shall at any time be asserted or
enforceable against Receiver, individually, on account of this Agreement or the documents
executed in connection herewith or therewith. The provisions of this Paragraph shall survive the
expiration or earlier termination of this Agreement.

Section 17. Confidentiality. Capstone acknowledges that all documents, analyses, records,
statements, etc. (the “Confidential Information”) provided by Receiver and designated as
“confidential” are confidential and proprietary. Capstone shall keep all such information
confidential and shall not disclose, photocopy, or reproduce the Confidential Information in any
manner without the prior written authorization of Receiver, except as otherwise set forth in this
Agreement. Capstone shall not disclose, summarize, or otherwise provide any portion of the
Confidential Information to any person other than Capstone’s partners, agents, and employees, and
then only on a “need-to-know” basis.




TRANSACTION ENGAGEMENT AGREEMENT                                                     Page 12 of 34
302469183
 Case 1:24-cv-01102-KES-SAB          Document 157-2    Filed 02/25/25    Page 22 of 51




IN WITNESS WHEREOF, the parties have executed this Agreement with their signatures below:

 THE RECEIVER                                    CAPSTONE CAPITAL MARKETS, INC.


   ______________________________          By: ________________________________
   Lance Miller, solely in his capacity        Name: __________________________
   as Court-appointed Receiver                 Title: __________________________




TRANSACTION ENGAGEMENT AGREEMENT                                              Page 13 of 34
302469183
 Case 1:24-cv-01102-KES-SAB         Document 157-2      Filed 02/25/25    Page 23 of 51




ACKNOWLEDGED BY:

PGIM REAL ESTATE FINANCE, LLC,
a Delaware limited liability company

By:
Name:
Title:

THE PRUDENTIAL INSURANCE COMPANY
OF AMERICA, a New Jersey corporation

By:
Name:
Title:

THE BANK OF NEW YORK MELLON, a New York
banking corporation, not in its individual capacity but
solely as Trustee under the Reserve Trust Agreement for the PAR U HARTFORD LIFE &
ANNUITY COMFORT TRUST
        By: PGIM Real Estate Loan Services, Inc. f/k/a Prudential Asset Resources, Inc., a
        Delaware corporation
Its: Servicer
By:
Name:
Title:


FEDERAL AGRICULTURAL MORTGAGE CORPORATION

By:
Name:
Title:




TRANSACTION ENGAGEMENT AGREEMENT                                               Page 14 of 34
302469183
 Case 1:24-cv-01102-KES-SAB             Document 157-2   Filed 02/25/25   Page 24 of 51




Appendix A

                             RELEVANT MARICOPA ENTITIES

FARMING


4Leg Energy Solutions
A&H Investments, LLC
ACAP Farms, LLC**
Adams Grantor Land, LLC
ACDF, LLC*
Ashlan & Hayes Investments, LLC
Assemi and Sons, Inc.*
Avila Ranch EA, LLC*
Bear Flag Farms, LLC*
C & A FARMS, LLC* **
Cantua Orchards, LLC* **
Copper Avenue Investments, LLC**
DA Real Estate Holdings, LLC*
Elevated Ag, LLC
Favier Ranch, LLC*
FFGT Farms, LLC
FG2 Holdings, LLC*
FNF Farms, LLC
Goldstar Investment Group, LLC
Gradon Farms, LLC* **
Grantland Farms, LLC
Grantland Holdings No. 1, LLC*
Grantland Holdings No. 2, LLC*
Grantor Real Estate Investments, LLC*
Granville Farms, LLC*
GV AG LLC*
Kamm South, LLC
Lincoln Grantor Farms, LLC* **
Manning Avenue Pistachios, LLC
Maricopa Orchards, LLC* **
Panoche Pistachios, LLC*
Sageberry Farms, LLC*
West Fern Investments, Inc.
Whitesbridge Farms, LLC**
Willow Avenue Investments, LLC **
Winston Farms, LLC




TRANSACTION ENGAGEMENT AGREEMENT                                              Page 15 of 34
302469183
 Case 1:24-cv-01102-KES-SAB               Document 157-2          Filed 02/25/25   Page 25 of 51



RELATED WATER ENTITIES

Poso Creek Water Company
Arroyo Pasajero Mutual Water Company
Other water entities and water interests related to the Sale Property

* Defendants in Case No. 1:24-cv-01102-KES-SAB
** Defendants in Case No. 1:24-cv-01455-KES-SAB




TRANSACTION ENGAGEMENT AGREEMENT                                                       Page 16 of 34
302469183
 Case 1:24-cv-01102-KES-SAB        Document 157-2   Filed 02/25/25   Page 26 of 51




                                     Appendix B

                                   SALE PROPERTY




TRANSACTION ENGAGEMENT AGREEMENT                                         Page 17 of 34
302469183
         Case 1:24-cv-01102-KES-SAB                      Document 157-2    Filed 02/25/25                  Page 27 of 51

                                                                                                                 Real Estate Loan
Map Location      APN Number        New Field #   Crop         Owner         Water District                      Lender
                                                                                                                 Met
Kamm Avenue       038-141-59s       15101         Pistachios   ACDF, LLC     Westlands Water District            Life/Prudential
Calaveras Ranch   038-090-37S       02104         Open         ACDF, LLC     Westlands Water District            Prudential
Calaveras Ranch   038-090-37S       02104         Well         ACDF, LLC     Westlands Water District            Prudential
Calaveras Ranch   038-090-37S       02404         Open         ACDF, LLC     Westlands Water District            Prudential
Calaveras Ranch   038-160-10S       13104         Open         ACDF, LLC     Westlands Water District            Prudential
Calaveras Ranch   038-160-13        13104         Open         ACDF, LLC     Westlands Water District            Prudential
Gooselake         069-230-05-01-2   65122         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-05-01-2   65122         Reservoir    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-05-01-2   65122         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-05-01-2   65422         Lift Pump    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-05-01-2   65422         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-07-00-9   65322         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-20-00-6   64622         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-20-00-6   64722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-20-00-6   64822         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-20-00-6   65722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-20-00-6   65822         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-21-01-8   65522         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-22-01-1   65622         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-22-01-1   65622         Reservoir    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-36-00-3   65922         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-36-00-3   65922         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         069-230-55-00-8   64822         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-03-00-8   67222         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-08-00-3   66222         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-08-00-3   66322         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-08-00-3   66722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-11-00-1   66122         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-18-00-2   66122         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-18-00-2   66122         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-18-00-2   66222         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-19-00-5   66122         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-19-00-5   66122         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-010-19-00-5   66222         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-03-00-1   64922         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-03-00-1   66022         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-03-00-1   66022         Yard         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-09-00-9   64922         Lift Pump    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-09-00-9   64922         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-10-00-1   64922         Lift Pump    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-10-00-1   64922         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-020-10-00-1   64922         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-100-28-00-7   66922         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-100-28-00-7   66922         Reservoir    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-100-28-00-7   66922         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-01-01-0   66722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-01-01-0   66822         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-03-01-6   66722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-03-01-6   66822         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-04-00-0   66322         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-04-00-0   66322         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-04-00-0   66422         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-04-00-0   66522         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-04-00-0   66722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-04-00-0   66722         Reservoir    ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-05-01-2   65022         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-05-01-2   66422         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-05-01-2   66522         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-05-01-2   67022         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-05-01-2   67022         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-09-00-5   66322         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-110-09-00-5   66722         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-120-01-00-4   67122         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         086-120-05-00-6   67122         Open         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66422         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66422         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66522         Building     ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66522         House        ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66522         Pistachios   ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66522         Shop         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66522         Well         ACDF, LLC     Semitropic Water Storage District   Prudential
Gooselake         087-080-25-00-0   66522         Yard         ACDF, LLC     Semitropic Water Storage District   Prudential
I-5 Ranch         027-210-20S       19105         Open         ACDF, LLC     Westlands Water District            Prudential
I-5 Ranch         027-210-29S       19105         Open         ACDF, LLC     Westlands Water District            Prudential
I-5 Ranch         027-210-32S       19105         House        ACDF, LLC     Westlands Water District            Prudential
I-5 Ranch         027-210-32S       19105         Open         ACDF, LLC     Westlands Water District            Prudential
I-5 Ranch         027-210-33S       19105         Open         ACDF, LLC     Westlands Water District            Prudential
Kamm Avenue       038-061-04        06401         Open         ACDF, LLC     Westlands Water District            Prudential
Kamm Avenue       038-061-55s       09201         Almonds      ACDF, LLC     Westlands Water District            Prudential
         Case 1:24-cv-01102-KES-SAB                        Document 157-2                Filed 02/25/25                  Page 28 of 51

                                                                                                                               Real Estate Loan
Map Location        APN Number        New Field #   Crop          Owner                    Water District                      Lender
Kamm Avenue         038-130-51s       16201         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Kamm Avenue         038-130-86s       16201         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Kamm Avenue         038-130-87s       16201         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Kamm Avenue         038-141-60s       15101         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Kamm Avenue         045-040-02        02401         Open          ACDF, LLC                Westlands Water District            Prudential
Kamm Avenue         045-040-04S       02401         Open          ACDF, LLC                Westlands Water District            Prudential
Kamm Avenue         045-040-08        02401         Open          ACDF, LLC                Westlands Water District            Prudential
McCombs Ranch       058-292-05-00-5   62220         Open          ACDF, LLC                Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-05-00-5   62220         Well          ACDF, LLC                Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-05-00-5   62220         Yard          ACDF, LLC                Semitropic Water Storage District   Prudential
Panoche Road        027-050-68S       11205         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-30S       13505         Jojoba        ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-37S       14205         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-37S       14305         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-37S       14405         House         ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-37S       14405         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-37S       14405         Shop          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-37S       14405         Yard          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-40S       13105         Cherries      ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-40S       13105         Non-Op Well   ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-40S       13105         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-40S       24105         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-40S       24405         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-41S       13105         Cherries      ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-41S       13105         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-41S       13405         Non-Op Well   ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-110-41S       13405         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-200-02S       13405         Open          ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-200-04S       12105         Jojoba        ACDF, LLC                Westlands Water District            Prudential
Panoche Road        027-200-04S       12105         Open          ACDF, LLC                Westlands Water District            Prudential
Primestar           017-080-46s       27105         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Primestar           017-080-72s       27105         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Windfall            017-060-06s       15305         Open          ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-45s       34605         Open          ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-46s       34105         Open          ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-46s       34205         Open          ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-46s       34305         Open          ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-46s       34305         Well          ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-46s       34405         Pistachios    ACDF, LLC                Westlands Water District            Prudential
Windfall            027-180-46s       34505         Open          ACDF, LLC                Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-42S       11107         Open          Avila Ranch EA, LLC      Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-42S       11407         Almonds       Avila Ranch EA, LLC      Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-42S       11507         Open          Avila Ranch EA, LLC      Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-43S       11207         DOV           Avila Ranch EA, LLC      Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-43S       11307         Open          Avila Ranch EA, LLC      Westlands Water District            Prudential
Ana Belle West      047-010-01-01-6   72620         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72620         Reservoir     Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72720         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72820         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72820         Well          Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72920         House         Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72920         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72920         Shop          Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   72920         Well          Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   73020         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   73020         Well          Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   73120         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   73120         Well          Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   73220         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-010-01-01-6   79420         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-03-01-1   73820         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-03-01-1   73920         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-06-00-1   73320         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-07-00-4   73320         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-09-00-0   73420         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-13-00-1   73520         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-13-00-1   73520         Well          Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-13-00-1   73620         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Ana Belle West      047-040-13-00-1   73720         Pistachios    Bear Flag Farms, LLC     Semitropic Water Storage District   Prudential
Logoluso            027-040-13        09105         Cherries      Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-040-13        09205         Apricots      Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-040-13        09205         Open          Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-040-13        10105         Open          Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-050-17S       10105         Building      Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-050-17S       10105         House         Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-050-17S       10105         Open          Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-050-17S       10105         Shop          Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-110-11S       24205         Open          Bear Flag Farms, LLC     Westlands Water District            Prudential
Logoluso            027-110-13S       24205         Open          Bear Flag Farms, LLC     Westlands Water District            Prudential
Kyte                059-010-19-00-7   51020         Pistachios    C&A Farms, LLC           Semitropic Water Storage District   Prudential
         Case 1:24-cv-01102-KES-SAB                        Document 157-2                 Filed 02/25/25                  Page 29 of 51

                                                                                                                                Real Estate Loan
Map Location        APN Number        New Field #   Crop           Owner                    Water District                      Lender
Kyte                059-010-19-00-7   51020         Reservoir      C&A Farms, LLC           Semitropic Water Storage District   Prudential
Kyte                059-010-19-00-7   51020         Well           C&A Farms, LLC           Semitropic Water Storage District   Prudential
Kyte                059-070-01-00-2   51120         Pistachios     C&A Farms, LLC           Semitropic Water Storage District   Prudential
Mt. Whitney Ranch   050-030-22S       01108         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-22S       01108         Well           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-22S       01208         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-22S       01308         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-22S       01408         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-43S       11108         Non-Op Well    C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-43S       11108         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-43S       11108         Well           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-060-29S       20408         Almonds        C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-060-29S       20408         Well           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-060-30S       20308         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-060-41S       20108         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-060-43S       20208         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-24S       23408         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-33S       23208         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-33S       23208         Well           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-35S       14108         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-36S       14408         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-37S       14208         Open Organic   C&A Farms, LLC           Westlands Water District            Prudential

Mt. Whitney Ranch   050-070-37S       14208         Well           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-070-37S       14308         Open Organic   C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-100-03S       30208         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-100-26S       30308         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-100-26S       30408         Non-Op Well    C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-100-26S       30408         Open Organic   C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   050-100-28S       30108         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-41S       03107         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-41S       03307         Open Organic   C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-41S       03407         Table Grapes   C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-45S       12307         Almonds        C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-38S       24307         Almonds        C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-39S       24407         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-48S       24407         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-49S       24407         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-51S       13207         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-52S       24407         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-53S       13207         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   058-090-54S       24407         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-25S       06208         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-25S       06308         Open           C&A Farms, LLC           Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-25S       06308         Well           C&A Farms, LLC           Westlands Water District            Prudential
Kamm Avenue         038-141-21S       22501         Open           Cantua Orchards, LLC     Westlands Water District            Conterra-FAMC
Bluhm Garcia        026-300-034       20106         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-300-034       20106         Turnout        Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-300-034       20206         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29106         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29106         Turnout        Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29206         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29206         Turnout        Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29306         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29306         Turnout        Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29406         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Bluhm Garcia        026-320-006       29406         Turnout        Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-06        06301         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-23S       05401         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-23S       05401         Well           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-28S       05201         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-31S       05201         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-32S       05201         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-33S       05201         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-34S       05101         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-58S       04201         Open Organic   Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-58S       04301         Open Organic   Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-58S       04401         Open Organic   Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-061-58S       04401         Well           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-071-41S       11101         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-071-42S       11101         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-130-10s       16401         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-130-11s       16401         Open           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-130-11s       16401         Well           Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-141-26        14401         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-141-27S       14401         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-141-28S       14401         Non-Op Well    Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-141-28S       14401         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-141-29        14301         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
Kamm Avenue         038-141-30        14301         Pistachios     Cantua Orchards, LLC     Westlands Water District            Prudential
         Case 1:24-cv-01102-KES-SAB                        Document 157-2                    Filed 02/25/25                  Page 30 of 51

                                                                                                                                   Real Estate Loan
Map Location        APN Number        New Field #   Crop          Owner                        Water District                      Lender
Kamm Avenue         038-141-31        14301         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-38S       13401         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-41S       13101         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-41S       13101         Well          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-44S       13201         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-49S       14201         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-50S       14101         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-58S       14401         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-63S       13401         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-63S       13401         Well          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-13S       25401         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-28S       35101P        Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-82S       25401         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-02        24201         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-03S       24201         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-04S       24201         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-05        24201         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-10        24101         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-11S       24101         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-14S       23101         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-14S       23401         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-18S       24401         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-22        24301         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-27S       24401         Pistachios    Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-28S       24301         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-28S       24301         Shop          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-29S       24101         Non-Op Well   Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-29S       24101         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         038-300-29S       24201         Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Kamm Avenue         045-040-07        02401P        Open          Cantua Orchards, LLC         Westlands Water District            Prudential
Ludy                059-243-03-00-8   62120         Open          DA Real Estate Holdings      Semitropic Water Storage District   Prudential
Ludy                059-243-03-00-8   62120         Well          DA Real Estate Holdings      Semitropic Water Storage District   Prudential
Mt. Whitney Ranch   058-050-42S       11107         Open          FG2 Holdings, LLC            Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-42S       11407         Almonds       FG2 Holdings, LLC            Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-42S       11507         Open          FG2 Holdings, LLC            Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-43S       11207         DOV           FG2 Holdings, LLC            Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-43S       11307         Open          FG2 Holdings, LLC            Westlands Water District            Prudential
Calaveras Ranch     040-020-18S       08404         Pistachios    Gradon Farms, LLC            Westlands Water District            Conterra-FAMC
Calaveras Ranch     040-020-18S       08504         Open          Gradon Farms, LLC            Westlands Water District            Conterra-FAMC
Calaveras Ranch     038-090-36S       02204         Open          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     038-090-36S       02204         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     038-090-36S       02304         Open          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     040-030-34S       10104         Open          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     040-030-34S       10204         Open          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     040-030-34S       10204         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     040-030-41S       10104         Open          Gradon Farms, LLC            Westlands Water District            Prudential
Calaveras Ranch     040-030-41S       10104         Shop          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-050-07        24303         Pistachios    Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-050-07        24303         Reservoir     Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-050-07        24303         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-16S       26203         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-17S       26203         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-17S       26203         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-22S       26303         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-36S       26303         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-36S       26303         Reservoir     Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-50S       26303         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-50S       26303         Building      Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-50S       26303         House         Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-50S       26303         Shop          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-50S       26303         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-53S       26403         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-53S       26403         Building      Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-53S       26403         House         Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-53S       26403         Shop          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-53S       26403         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-55S       25103         Almonds       Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-55S       25103         Reservoir     Gradon Farms, LLC            Westlands Water District            Prudential
Huron               075-070-55S       25103         Well          Gradon Farms, LLC            Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-48S       09108         Open          Gradon Farms, LLC            Westlands Water District            Prudential
Ludy                059-243-03-00-8   62120         Open          Grantland Holdings No. 1     Semitropic Water Storage District   Prudential
Ludy                059-243-03-00-8   62120         Well          Grantland Holdings No. 1     Semitropic Water Storage District   Prudential
Ludy                059-243-03-00-8   62120         Open          Grantland Holdings No. 2     Semitropic Water Storage District   Prudential
Ludy                059-243-03-00-8   62120         Well          Grantland Holdings No. 2     Semitropic Water Storage District   Prudential
Kamm Avenue         038-071-43S       10201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-071-44S       10201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-071-46S       10101         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-071-59        10101         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-130-19S       21101         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-130-19S       21201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
         Case 1:24-cv-01102-KES-SAB                        Document 157-2                  Filed 02/25/25                    Page 31 of 51

                                                                                                                                   Real Estate Loan
Map Location        APN Number        New Field #   Crop          Owner                        Water District                      Lender
Kamm Avenue         038-130-56S       21301         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-130-58S       21301         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-01S       15401         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-02        15301         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-03        15301         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-04        15301         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-17        22301         Open          Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-17        22301         Well          Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-19        22301         Open          Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-52        22201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-53        22201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-54S       22401         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-55S       22101         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-55S       22401         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-56S       22401         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-57        15301         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-62S       15101         Building      Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-62S       15101         House         Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-62S       15101         Shop          Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-141-62S       15201         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-01        27401         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-01        27401         Well          Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-02S       27301         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-03S       27201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-30S       34201         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-32S       34101         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-33S       34101         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-34S       34101         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-35S       34101         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-36S       34101         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-37S       34401         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-38S       34301         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-39S       34401         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-42S       27101         Non-Op Well   Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-42S       27101         Pistachios    Granville Farms, LLC         Westlands Water District            Prudential
Kamm Avenue         038-210-55S       34101         Almonds       Granville Farms, LLC         Westlands Water District            Prudential
Bluhm Garcia        026-320-017       31206         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-017       31306         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-017       31406         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-017       31406         Turnout       Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-017       31406         Well          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-020       32106         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-020       32206         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-020       32306         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-020       32406         Open          Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
Bluhm Garcia        026-320-020       32406         Turnout       Lincoln Grantor Farms, LLC   Westlands Water District            Prudential
McCombs Ranch       058-291-40-00-9   95020         Open          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-291-40-00-9   95020         Well          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-09-00-7   95220         House         Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-09-00-7   95220         Open          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-09-00-7   95220         Shop          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-09-00-7   95220         Turnout       Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-09-00-7   95220         Well          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-23-00-7   95120         Open          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
McCombs Ranch       058-292-23-00-7   95120         Well          Lincoln Grantor Farms, LLC   Semitropic Water Storage District   Prudential
Brannan Ranch       017-080-84s       36205         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-20S       18104         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-20S       18104         Well          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-22S       18204         Non-Op Well   Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-22S       18204         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-22S       18204         Well          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-25S       17104         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-25S       17204         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Calaveras Ranch     040-060-25S       17204         Well          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-45S       11408         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-45S       11408         Well          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-46S       11308         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-47S       11308         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   050-030-48S       11208         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-26S       12207         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-35S       02107         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-35S       02207         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-35S       02307         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-35S       02407         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   058-050-44S       12407         Almonds       Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-34S       07107         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-43S       06107         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-43S       06407         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-49S       07107         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
Mt. Whitney Ranch   060-020-51S       07107         Open          Maricopa Orchards, LLC       Westlands Water District            Prudential
         Case 1:24-cv-01102-KES-SAB                           Document 157-2                    Filed 02/25/25                  Page 32 of 51

                                                                                                                                      Real Estate Loan
Map Location           APN Number        New Field #   Crop           Owner                       Water District                      Lender
Wegis - Jackson        069-280-04-00-5   74621         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-16-00-0   74921         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-16-00-0   74921         Reservoir      Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-16-00-0   74921         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-18-00-6   74921         House          Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-18-00-6   74921         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-25-00-6   75021         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-26-00-9   75021         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-26-00-9   75021         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-38-00-4   74821         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-38-00-4   74821         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-280-39-00-7   74721         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-310-09-00-8   74221         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-310-10-00-0   74321         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-310-11-00-3   74521         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-310-12-00-6   74421         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-310-12-00-6   74421         Solar          Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Jackson        069-310-12-00-6   74421         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75721         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75821         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75821         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75921         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75921         Building       Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75921         House          Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   75921         Reservoir      Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-02-02-4   76221         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-23-00-7   76521         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-23-00-7   76621         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-24-00-0   76221         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-24-00-0   76421         Table Grapes   Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-24-00-0   76521         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-24-00-0   76721         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-24-00-0   76821         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-25-00-3   76721         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-25-00-3   76821         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-26-00-6   76721         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-26-00-6   76721         Reservoir      Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-26-00-6   76721         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-34-01-8   76021         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-34-01-8   76021         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-34-01-8   76121         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-35-01-1   75621         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-35-01-1   75621         House          Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-35-01-1   75621         Reservoir      Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-35-01-1   75621         Shop           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Kimberlina     069-340-35-01-1   75621         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Lerdo          087-080-46-00-1   76921         Open           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - Lerdo          087-080-46-00-1   76921         Reservoir      Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - McCoy          069-272-05-00-9   74021         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - McCoy          069-272-05-00-9   74021         House          Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - McCoy          069-272-05-00-9   74021         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - McCoy          069-272-08-00-8   74121         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-310-21-00-2   75521         Open           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-310-21-00-2   75521         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-01-00-7   75121         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-02-01-9   75121         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-03-00-3   75121         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-04-01-5   75121         Almonds        Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-05-01-8   75221         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-05-01-8   75321         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-05-01-8   75321         Reservoir      Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-05-01-8   75321         Solar          Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-320-05-01-8   75321         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-330-02-00-3   75421         Pistachios     Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Wegis - West Jackson   069-330-02-00-3   75421         Well           Maricopa Orchards, LLC      Semitropic Water Storage District   Prudential
Kamm Avenue            038-061-28S       0731          Well           Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-130-02        18301         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-06        26401         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-08        26301         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-09        26301         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-10S       26201         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-14S       25101         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-14S       25101         Well           Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-15S       25101         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-26        35101         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-27S       35101         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-41S       34401         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-43        26401         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-44S       26101         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
Kamm Avenue            038-210-44S       26401         Pistachios     Panoche Pistachios, LLC     Westlands Water District            Prudential
         Case 1:24-cv-01102-KES-SAB                    Document 157-2                  Filed 02/25/25                 Page 33 of 51

                                                                                                                         Real Estate Loan
Map Location        APN Number    New Field #   Crop         Owner                         Water District                Lender
Kamm Avenue         038-210-44S   26401         Well         Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-47S   35301         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-54S   35101         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-63S   25301         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-68S   36101         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-69S   35201         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-70S   35201         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-71S   35301         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-74S   36401         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-74S   36401         Well         Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-76S   25201         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-77S   36101         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-78S   36101         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-79S   36201         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-80S   36201         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-210-80S   36301         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential
Kamm Avenue         038-270-01    36301         Pistachios   Panoche Pistachios, LLC       Westlands Water District      Prudential

Mt. Whitney Ranch   060-020-55S   09208         Open         Ranch West Investments, LLC Westlands Water District        Prudential

Mt. Whitney Ranch   060-020-55S   09208         Well         Ranch West Investments, LLC Westlands Water District        Prudential

Mt. Whitney Ranch   060-020-60S   09208         Open         Ranch West Investments, LLC   Westlands Water District      Prudential
Huron               075-050-08S   24203         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-050-08S   24203         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-050-50S   13203         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-050-50S   13203         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-050-50S   13303         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-050-50S   13303         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-28    36103         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-28    36103         Reservoir    Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-28    36103         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-29    36203         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-29    36203         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-30    36403         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-30    36403         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-30    36403         Yard         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-31    36303         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-31    36303         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-31    36303         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-43S   25303         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-46S   35203         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-47S   35203         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-48S   35303         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-48S   35303         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-56S   25203         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-56S   25203         Reservoir    Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-56S   25203         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-56S   25303         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               075-070-56S   25403         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-47S   07303         Almonds      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-47S   07303         Reservoir    Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-47S   07303         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-54S   07103         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-54S   07103         Reservoir    Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-54S   07403         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-020-54S   07403         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-041-01S   18403         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-041-01S   18403         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-041-02S   18403         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-041-17S   18303         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-041-17S   18303         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-02S   30403         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-02S   30403         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-03S   30103         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-03S   30103         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-39S   30303         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-39S   30303         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-39S   30303         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29103         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29103         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29103         Well         Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29203         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29303         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29303         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29403         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29403         Reservoir    Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-57S   29403         Turnout      Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-65S   30403         Pistachios   Sageberry Farms, LLC          Westlands Water District      Prudential
Huron               078-060-80S   30203         Open         Sageberry Farms, LLC          Westlands Water District      Prudential
         Case 1:24-cv-01102-KES-SAB                    Document 157-2                 Filed 02/25/25               Page 34 of 51

                                                                                                                      Real Estate Loan
Map Location        APN Number    New Field #   Crop           Owner                    Water District                Lender
Huron               078-060-80S   30203         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-85S   31103         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-85S   31103         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-86S   31303         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-87S   31403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-87S   31403         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-88S   31403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-060-88S   31403         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-080-55    06403         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-080-55    06403         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-06S   19403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-06S   19403         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-06S   19403         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-07S   19103         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-07S   19103         Reservoir      Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-07S   19103         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-07S   19103         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-07S   19403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-11S   20103         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-11S   20103         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-23S   19203         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-23S   19303         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-23S   19303         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-130-23S   19503         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-02S   20403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-02S   20403         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-04S   20403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-04S   20403         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-05    20403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-06S   20403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Huron               078-140-07S   20403         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-06S   14402         Non-Op Well    Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-06S   14402         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-07S   14102         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-07S   14102         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-09S   13402         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-36S   13102         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-36S   13102         Reservoir      Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-37S   13202         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-37S   13202         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-37S   13202         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-38S   13302         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-39S   23402         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-39S   23402         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-40S   23302         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-40S   23302         Reservoir      Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-40S   23302         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-41S   23202         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-41S   23202         Turnout        Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-42S   23202         Open           Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-42S   23202         Pistachios     Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-42S   23202         Shop           Sageberry Farms, LLC     Westlands Water District      Prudential
Lassen Ranch        068-071-42S   23202         Well           Sageberry Farms, LLC     Westlands Water District      Prudential
Mt. Whitney Ranch   058-050-41S   03207         Table Grapes                            Westlands Water District      Prudential
 Case 1:24-cv-01102-KES-SAB        Document 157-2   Filed 02/25/25   Page 35 of 51




                                     Appendix C

                               EXCLUDED PARCELS

NONE




TRANSACTION ENGAGEMENT AGREEMENT                                         Page 18 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                     Document 157-2             Filed 02/25/25         Page 36 of 51




                                                   EXHIBIT A

                            FORM MET LIFE RECEIVER AGREEMENT


_______ __, 2025

Capstone Capital Markets LLC (“Capstone”)
176 Federal St., 3rd Floor
Boston, MA 02110
Attention: Skye Root

Mr. Lance Miller (the “Prudential/FMAC Receiver”)
Pivot Group
1230 Rosecrans Ave Suite 530
Manhattan Beach, CA 90266

Re: Prospective sale of assets in connection with Receivership Orders entered by the United States District Court,
Eastern District of California, Fresno Division, 1:24-cv-1102-KES-SAB and 1:24-cv-01455-KES-SAB (the
“Court”)

Dear Lance:

I am the Receiver appointed by the Court at the request of Metropolitan Life Insurance Company, MetLife Real
Estate Lending, LLC (together, “MetLife”) and Brighthouse Life Insurance Company (“Brighthouse” and,
collectively with MetLife, “MetLife/Brighthouse”) under the Order Granting Motion for Order Appointing Receiver
and for Preliminary Injunction entered by the Court in the following cases (collectively, the “MetLife/Brighthouse
Receiverships”):

    •    Metropolitan Life Insurance Company v. FNF Farms, LLC, et al., Case No. 1:24-cv-01226- KES-SAB;

    •    Metropolitan Life Insurance Company v. C & A Farms, LLC, et al., Case No. 1:24-cv-01230-KES-SAB;

    •    Metropolitan Life Insurance Company v. Maricopa Orchards, LLC, et al., Case No. 1:24-cv-01231- KES-
         SAB;

    •    Brighthouse Life Insurance Company v. Kamm South, LLC, et al., Case No. 1:24-cv-01232- KES-SAB;

    •    Brighthouse Life Insurance Company v. Manning Avenue Pistachios, LLC, et al., Case No. 1:24-cv-01233-
         KES-SAB;

    •    Brighthouse Life Insurance Company v. C & A Farms, LLC, et al., Case No. 1:24-cv-01235- KES-SAB;

    •    MetLife Real Estate Lending, LLC v. Panoche Pistachios, LLC, et al., Case No. 1:24-cv-01241- KES-SAB;
         and

    •    Metropolitan Life Insurance Company., v. ACDF, LLC, et al., Case No. 1:24-cv-01261- KES-SAB.

In my capacity as the MetLife/Brighthouse Receiver, I have authority and control over certain assets of Maricopa
Orchards, LLC and its various subsidiaries, affiliates, and related interests (the “Company”) granted as collateral to
MetLife or Brighthouse for loans extended to the Company by MetLife or Brighthouse, as applicable.




TRANSACTION ENGAGEMENT AGREEMENT                                                                         Page 19 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2             Filed 02/25/25          Page 37 of 51



You, Lance Miller, are the Receiver appointed by the Court at the request of The Prudential Insurance Company of
America, PGIM Real Estate Finance, LLC (together, “Prudential”) and Federal Agricultural Mortgage Corporation
for sale of assets and related interests of the Company granted as collateral for loans extended to the Company by
Prudential.

I am aware that you, as the Prudential/FMAC Receiver, are proposing to enter or have entered into an agreement for
the engagement of Capstone Capital Markets LLC (the “Capstone Agreement”) in substantially the form attached
hereto as Annex A for sale of parcels listed in Appendix B to the Capstone Agreement, as it may be amended from
time to time (the “Sale Property”).

Capitalized terms not otherwise defined in this letter agreement have the meanings given in the Capstone
Agreement.

Subject to Court approval and the terms and conditions of this letter agreement, I hereby confirm as the
MetLife/Brighthouse Receiver that I have authorized inclusion as Sale Property under the Capstone Agreement
those MetLife and Brighthouse collateral parcels and other interests identified below (the “MetLife/Brighthouse
Collateral”):

    •    APN 038-130-71S;
    •    APN 038-130-62S;
    •    APN 038-130-35S;
    •    APN 038-200-09S;
    •    APN 038-200-04S;
    •    APN 038-141-59S;
    •    APN 038-210-25S; and
    •    Membership interests in Poso Creek Water Company, LLC and all associated water and other rights.

I further confirm as the MetLife/Brighthouse Receiver that each of MetLife and Brighthouse have consented to the
MetLife/Brighthouse Collateral’s inclusion in the Capstone Agreement as Sale Property.

For this purpose, I hereby join in the Capstone Agreement to the extent, and only to the extent, described in this
letter agreement.

TERMS AND CONDITIONS

         1.   Joinder to Capstone Agreement. For purpose of the potential sale of the MetLife/Brighthouse
              Collateral as part of a Transaction(s), the MetLife/Brighthouse Receiver joins in the engagement of
              Capstone as described in Section 1 of the Capstone Agreement, which Section is incorporated herein
              by reference.

         2.   Capstone Services. For purposes of the potential sale of the MetLife/Brighthouse Collateral as part of a
              Transaction(s), Capstone will provide the Transaction Services to the MetLife/Brighthouse Receiver.
              The MetLife/Brighthouse Receiver agrees to the provisions of Section 2 of the Capstone Agreement,
              which Section is incorporated herein by reference.

         3.   Cooperation. In furtherance of the potential sale of the MetLife/Brighthouse Collateral as part of a
              Transaction(s), the MetLife/Brighthouse Receiver agrees (a) to cooperate with Capstone and the
              Prudential/FMAC Receiver, (b) that the Prudential/FMAC Receiver will be the point of contact with
              Capstone, and (c) that Capstone will take direction in the performance of the Transaction Services
              solely from the Prudential/FMAC Receiver.

         4.   Fees.




TRANSACTION ENGAGEMENT AGREEMENT                                                                         Page 20 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                   Document 157-2             Filed 02/25/25          Page 38 of 51



                 a.   The MetLife/Brighthouse Receiver agrees to pay any Transaction Fee(s) associated with a
                      Transaction(s) involving MetLife/Brighthouse Collateral, calculated in accordance with the
                      terms of the Capstone Agreement.

                 b.   In no event shall the inclusion of the MetLife/Brighthouse Collateral in a Transaction, nor the
                      extension of the Transaction Services to such collateral, increase the amount of the
                      Engagement Fee, Monthly Retainer Fee, or Abandonment Fee that otherwise may come due,
                      and no such amount shall be apportioned to the MetLife/Brighthouse Collateral.

        5.   Term and Termination. The MetLife/Brighthouse Receiver shall have no right or ability to terminate
             the Capstone Agreement absent written consent from the Prudential/FMAC Receiver or order of the
             Court.

        6.   Representations. With respect to the MetLife/Brighthouse Collateral, the MetLife/Brighthouse
             Receiver joins in and makes the representations and agreements set forth in Section 7 of the Capstone
             Agreement.

        7.   Indemnification. The MetLife/Brighthouse Receiver joins in the indemnification of Capstone as set
             forth in Section 8 of the Capstone Agreement, which Section is incorporated herein by reference,
             solely with respect to any and all losses, claims, damages, or liabilities to which any Capstone
             Indemnified Person may become subject arising in any manner out of or in connection with the
             rendering of services by Capstone to the MetLife/Brighthouse Receiver.

        8.   Distribution of Proceeds; Prudential True-Up.

                 a.   The proceeds of any Transaction that includes MetLife/Brighthouse Collateral will be
                      received by and distributed to the MetLife/Brighthouse Receiver at or promptly after closing
                      of such Transaction according to the percentage derived by dividing the total value of the
                      MetLife/Brighthouse Collateral included in the Transaction by the Transaction Value
                      attributable to the Transaction (the “MetLife/Brighthouse Proceeds”). For the avoidance of
                      doubt, such distribution to the MetLife/Brighthouse Receiver will be net of any costs and
                      expenses incurred by the Receiver in administering the MetLife/Brighthouse Collateral, as
                      applicable. In no event will MetLife or Brighthouse be entitled to more than the
                      MetLife/Brighthouse Payoff (defined below) on a by-parcel basis.

                 b.   In the event the MetLife/Brighthouse Proceeds associated with a Transaction are insufficient
                      to pay in full the debt owing to MetLife or Brighthouse that is secured by the
                      MetLife/Brighthouse Collateral being sold in such Transaction, Prudential shall have the
                      right, in its sole discretion, to direct the Prudential/FMAC Receiver to reallocate net sale
                      proceeds from Prudential (out of net sale proceeds allocated to Prudential) to MetLife or
                      Brighthouse, as appropriate, in such amount as is necessary to repay the debt secured by the
                      MetLife/Brighthouse Collateral included in the Transaction so that MetLife or Brighthouse, as
                      appropriate, receive the following amounts at closing of the Transaction, subject to
                      adjustment:

                           i.   APN 038-130-71S - $
                          ii.   APN 038-130-62S - $
                         iii.   APN 038-130-35S - $
                         iv.    APN 038-200-09S - $
                          v.    APN 038-200-04S - $
                          vi.   APN 038-210-25S - $
                         vii.   APN 038-141-59S - $




TRANSACTION ENGAGEMENT AGREEMENT                                                                       Page 21 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2            Filed 02/25/25          Page 39 of 51



                      The immediately preceding amounts were calculated as of the date of this letter agreement
                      and shall be brought forward solely to reflect interest and costs payable under the relevant
                      loan documents(s) that accrue and become due and payable between the date of this letter
                      agreement and closing of the applicable Transaction (the “MetLife/Brighthouse Payoff”), as
                      supported by documentation and calculations provided by MetLife/Brighthouse and
                      reasonably acceptable to Prudential. The amount necessary to cause the MetLife/Brighthouse
                      Proceeds to equal the MetLife/Brighthouse Payoff, by parcel, is referred to as the “Prudential
                      True-Up Amount”). For the avoidance of doubt, the Prudential True-Up Amount paid, if any,
                      will be limited to parcels included in a Transaction for which the MetLife/Brighthouse Payoff
                      exceeds the MetLife/Brighthouse Proceeds.

        9.   Agreement to Close. In the event Prudential elects to pay the Prudential True-Up Amount(s) pursuant
             to Paragraph 8(b) of this letter agreement, MetLife or Brighthouse (as applicable) shall be obligated to
             close on the Transaction(s) and to direct the release of the Release Documents described in Paragraph
             10 of this letter agreement.

        10. Agreement to Release Liens. Within thirty (30) days of the execution of this letter agreement, or such
            other date as agreed to in writing by the parties, MetLife and Brighthouse shall each place into escrow
            all lien releases and other documents necessary to transfer the MetLife/Brighthouse Collateral free and
            clear of all liens, claims, encumbrances, and other interest held by MetLife, Brighthouse, or their
            affiliates in the Metlife/Brighthouse Collateral (the “Release Documents”), with such documents to be
            released from escrow concurrently with MetLife’s or Brighthouse’s receipt of the MetLife/Brighthouse
            Payoff, as applicable. For the avoidance of doubt, the Release Documents shall include any and all
            documents, in forms reasonably acceptable to the Prudential/FMAC Receiver, necessary to release
            MetLife’s, Brighthouse’s, or their respective affiliate’s liens, claims, security interest, encumbrances,
            and similar interests on or in:

                 a.   The MetLife/Brighthouse Collateral;

                 b.   The membership interests in Poso Creek Water Company, LLC and all associated water and
                      other rights; and

                 c.   The following Water Supply agreements:

                           i. Water Supply Agreement dated July 29, 2015 made by and between FNF FARMS,
                              LLC, a California limited liability company (as Water User therein), and 104
                              PISTACHIOS, LLC a California limited liability company, et al (as Water Providers
                              therein), recorded in (i) the Official Records of Fresno County, California on
                              September 11, 2024 as Document No. 2024-0082400, (ii) the Official Records of
                              Kern County, California on September 10, 2024 as Document No. 224109980, (iii)
                              the Official Records of Kings County, California on September 10, 2024 as
                              Document No. 2412595, and (iv) the Official Records of Madera County, California
                              on September 11, 2024 as Document No. 2024019288.

                          ii. Water Supply Agreement dated July 29, 2015 made by and between KAMM
                              SOUTH, LLC, a California limited liability company (as Water User therein), and
                              104 Pistachios, LLC a California limited liability company, et al (as Water Providers
                              therein), recorded in (i) the Official Records of Fresno County, California on
                              September 11, 2024 as Document No. 2024-0082763, (ii) the Official Records of
                              Kern County, California on September 10, 2024 as Document No. 224109979; (iii)
                              the Official Records of Kings County, California on September 10, 2024 as
                              Document No. 2412594, and (iv) the Official Records of Madera County, California
                              on September 11, 2024 as Document No. 2024019295.



TRANSACTION ENGAGEMENT AGREEMENT                                                                        Page 22 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                  Document 157-2            Filed 02/25/25         Page 40 of 51



                         iii. Water Supply Agreement dated September 28, 2025 made by and between
                              MARICOPA ORCHARDS, LLC, a California limited liability company, et al, (as
                              Water User therein), and 104 Pistachios, LLC a California limited liability company,
                              et al (as Water Providers therein), recorded in (i) the Official Records of Fresno
                              County, California on September 10, 2024 as Document No. 2024-0082325, (ii) the
                              Official Records of Kern County, California on September 13, 2024 as Document
                              No. 224111300, (iii) the Official Records of Kings County, California on September
                              10, 2024 as Document No. 2412596, and (iv) the Official Records of Madera
                              County, California on September 11, 2024 as Document No. 2024019287For
                              purposes of this Paragraph 10, “escrow” may include delivering such documents,
                              fully executed, to counsel for the Prudential/FMAC Receiver.

        11. Adoption of Remaining Sections of Capstone Agreement. Subject to the above modifications, the
            MetLife/Brighthouse Receiver agrees to the remaining sections of the Capstone Agreement, which are
            incorporated herein by reference; provided that, notifications to the MetLife/Brighthouse Receiver are
            to be given to:

                  Phillip Christensen, MetLife/Brighthouse Receiver
                  AgriGlobe
                  2787 W. Bullard Avenue, Suite 106
                  Fresno, California 93711

        12. Governance. This Agreement incorporates the entire understanding between the parties hereto and
            supersedes all previous agreements relating to the subject matter hereof. This Agreement may not be
            amended or modified except in a writing signed by the parties. This Agreement shall be binding upon
            and inure to the benefit of the parties and their respective successors and assigns. If any term or
            provision of this Agreement shall to any extent be deemed illegal, invalid, or unenforceable, the
            remainder of this Agreement shall not be affected thereby, and each term and provision of this
            Agreement shall be valid and enforceable to the fullest extent permitted by law.




TRANSACTION ENGAGEMENT AGREEMENT                                                                     Page 23 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2            Filed 02/25/25         Page 41 of 51



Please indicate your agreement to the foregoing by signing at the places for your signatures below.

Sincerely,



Phillip Christensen
Solely in his capacity as
Court-appointed Receiver


ACKNOWLEDGED AND AGREED:



Lance Miller
Solely in his capacity as
Court-appointed Receiver


CAPSTONE CAPITAL MARKETS LLC




Paul Janson
Head of Investment Banking


[INSERT SIGNATURE BLOCKS]




TRANSACTION ENGAGEMENT AGREEMENT                                                                      Page 24 of 34
302469183
    Case 1:24-cv-01102-KES-SAB                 Document 157-2            Filed 02/25/25         Page 42 of 51




                                                  EXHIBIT B

                                   FORM COMPANY AGREEMENT

       __, 2025

Capstone Capital Markets LLC (“Capstone”)
176 Federal St., 3rd Floor
Boston, MA 02110
Attention: Skye Root

Mr. Lance Miller (the “Prudential/FMAC Receiver”)
Pivot Group
1230 Rosecrans Ave., Suite 530
Manhattan Beach, CA 90266

Re: Prospective sale of assets in connection with Receivership Orders entered by the United States District Court,
Eastern District of California, Fresno Division, 1:24-cv-1102-KES-SAB and 1:24-cv-01455-KES-SAB (the
“Court”)

Dear Lance:

We understand and acknowledge that you are the receiver appointed at the request of The Prudential Insurance
Company of America, PGIM Real Estate Finance, LLC, and Federal Agricultural Mortgage Corporation (collectively,
the “Lenders”) and that you are proposing to enter or have entered into an agreement for the engagement of Capstone
Capital Markets LLC (the “Capstone Agreement”) 1 in the form attached hereto as Annex A, for sale of the parcels
listed in Appendix B to the Capstone Agreement, as it may be amended from time to time (the “Sale Property”), which
Sale Property is subject to the first priority deeds of trust and security interests of the Lenders, as applicable.

We further understand and agree that the ultimate valuations to be achieved in the sale of the Sale Property may be
enhanced by inclusion of certain assets identified below (“Company Property”), which we are willing to include in
the sale of the Sale Property:

         •        Membership interests in Poso Creek Water Company, LLC and all associated water and other rights;

         •        Membership interests in Arroyo Pasajero Mutual Water Company;

         •        The following Water Supply agreements:

                  o        Water Supply Agreement dated July 29, 2015 made by and between FNF FARMS, LLC,
                           a California limited liability company (as Water User therein), and 104 PISTACHIOS,
                           LLC a California limited liability company, et al (as Water Providers therein), recorded
                           in (i) the Official Records of Fresno County, California on September 11, 2024 as
                           Document No. 2024-0082400, (ii) the Official Records of Kern County, California on
                           September 10, 2024 as Document No. 224109980, (iii) the Official Records of Kings
                           County, California on September 10, 2024 as Document No. 2412595, and (iv) the
                           Official Records of Madera County, California on September 11, 2024 as Document No.
                           2024019288;




1
 Capitalized terms not otherwise defined in this letter agreement have the meanings given in the Capstone
Agreement.

TRANSACTION ENGAGEMENT AGREEMENT                                                                       Page 25 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                     Document 157-2             Filed 02/25/25          Page 43 of 51



                  o        Water Supply Agreement dated July 29, 2015 made by and between KAMM SOUTH,
                           LLC, a California limited liability company (as Water User therein), and 104 Pistachios,
                           LLC a California limited liability company, et al (as Water Providers therein), recorded
                           in (i) the Official Records of Fresno County, California on September 11, 2024 as
                           Document No. 2024-0082763, (ii) the Official Records of Kern County, California on
                           September 10, 2024 as Document No. 224109979; (iii) the Official Records of Kings
                           County, California on September 10, 2024 as Document No. 2412594, and (iv) the
                           Official Records of Madera County, California on September 11, 2024 as Document No.
                           2024019295; and

                  o        Water Supply Agreement dated September 28, 2025 made by and between MARICOPA
                           ORCHARDS, LLC, a California limited liability company, et al, (as Water User
                           therein), and 104 Pistachios, LLC a California limited liability company, et al (as Water
                           Providers therein), recorded in (i) the Official Records of Fresno County, California on
                           September 10, 2024 as Document No. 2024-0082325, (ii) the Official Records of Kern
                           County, California on September 13, 2024 as Document No. 224111300, (iii) the Official
                           Records of Kings County, California on September 10, 2024 as Document No. 2412596,
                           and (iv) the Official Records of Madera County, California on September 11, 2024 as
                           Document No. 2024019287For purposes of this Paragraph 10, “escrow” may include
                           delivering such documents, fully executed, to counsel for the Prudential/FMAC Receiver;
                           and

         •        The real property listed on schedule attached here to as Annex B.

We join in the Capstone Agreement to the extent, and only to the extent, described in this letter agreement.

TERMS AND CONDITIONS

    1.   Joinder to Capstone Agreement. For purposes of the potential sale of the Company Property as part of a
         Transaction(s), the Company joins in the engagement of Capstone as described in Section 1 of the Capstone
         Agreement, which Section is incorporated herein by reference.

    2.   Capstone Services. For purposes of the potential sale of the Company Property, Capstone will provide the
         Transaction Services to the Company. The Company agrees to the provisions of Section 2 of the Capstone
         Agreement, which Section is incorporated herein by reference.

    3.   Cooperation. In furtherance of the potential sale of the Company Property as part of a Transaction(s), the
         Company agrees (a) to cooperate with Capstone and the Prudential/FMAC Receiver, (b) that the
         Prudential/FMAC Receiver will be the point of contact with Capstone, and (c) that Capstone will take
         direction in the performance of the Transaction Services solely from the Prudential/FMAC Receiver. The
         Company further understands and agrees that the Prudential/FMAC Receiver and Capstone will have full
         access to information relating to the Sale Property, the Company Property, and the operations of the
         Company, which information may be provided by current and former employees and advisors to the
         Company.

    4.   Fees. To the extent of Transaction Value attributable to Company Property in a Transaction(s), the Company
         will pay its share of the Transaction Fees provided for in Section 3(c) of the Capstone Agreement, which
         Section 3(c) is incorporated herein by reference; provided that (i) any Transaction Fee attributable to the sale
         of Company Property shall be included in determining the Transaction Fees counting towards the payment
         of the Minimum Transaction Fee; (ii) the Company shall not otherwise be responsible for the payment of any
         portion of the Minimum Transaction Fee and in no event will be liable for any portion of the Abandonment
         Fee; and (iii) in no event shall the Prudential/FMAC Receiver be liable for payment of the fees payable by
         the Company.



TRANSACTION ENGAGEMENT AGREEMENT                                                                          Page 26 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2             Filed 02/25/25          Page 44 of 51



    5.   Representations. With respect to the Company Property only, the Company joins in and makes the
         representations and agreements set forth in Section 7 of the Capstone Agreement.

    6.   Distribution of Proceeds. The proceeds of any Transaction under the Capstone Agreement that includes any
         Company Property will be received by and distributed to the Company at or promptly after closing according
         to the percentage derived by dividing the total value of the Company Property included in the Transaction by
         the Transaction Value attributable to the Transaction, as defined in Section 4 of the Capstone Agreement,
         which Section is incorporated herein by reference. For the avoidance of doubt, such distribution will be net
         of any costs and expenses incurred by the Receiver in administering the Company Property.

    7.   Adoption of Remaining Sections of Capstone Agreement. Subject to the above modifications, the Company
         agrees to the remaining sections of the Capstone Agreement, which are incorporated herein by reference;
         provided that, notifications to the Company are to be given to:

                   Maricopa Orchards, LLC
                   5260 N. Palm Ave. Suite 421
                   Fresno, CA 93704
                   Attention: Darius Assemi

    8.   Governance. This Agreement incorporates the entire understanding between the parties hereto and supersedes
         all previous agreements relating to the subject matter hereof. This Agreement may not be amended or
         modified except in a writing signed by the parties. This Agreement shall be binding upon and inure to the
         benefit of the parties and their respective successors and assigns. If any term or provision of this Agreement
         shall to any extent be deemed illegal, invalid, or unenforceable, the remainder of this Agreement shall not be
         affected thereby, and each term and provision of this Agreement shall be valid and enforceable to the fullest
         extent permitted by law.



                                         [SIGNATURE PAGE FOLLOWS]




TRANSACTION ENGAGEMENT AGREEMENT                                                                        Page 27 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2            Filed 02/25/25         Page 45 of 51



Please indicate your agreement to the foregoing by signing at the places for your signatures below.

Sincerely,
MARICOPA ORCHARDS, LLC


By:
Name:
Title:


[INSERT SIGNATURE BLOCKS]


ACKNOWLEDGED AND AGREED:



Lance Miller
Solely in his capacity as
Court-appointed Receiver

CAPSTONE CAPITAL MARKETS LLC



_____________________________________
Paul Janson
Head of Investment Banking




TRANSACTION ENGAGEMENT AGREEMENT                                                                      Page 28 of 34
302469183
    Case 1:24-cv-01102-KES-SAB                   Document 157-2             Filed 02/25/25         Page 46 of 51




                                                    EXHIBIT C

                      FORM PARTICIPATING LANDOWNER AGREEMENT

_________ __, 2025

Capstone Capital Markets LLC (“Capstone”)
176 Federal St., 3rd Floor
Boston, MA 02110
Attention: Skye Root

Mr. Lance Miller (the “Prudential/FMAC Receiver”)
Pivot Group
1230 Rosecrans Ave., Suite 530
Manhattan Beach, CA 90266


Re: Prospective sale of assets in connection with Receivership Orders entered by the United States District Court,
Eastern District of California, Fresno Division, 1:24-cv-1102-KES-SAB and 1:24-cv-01455-KES-SAB (the
“Court”)


Dear Lance:

We understand and acknowledge that you are the receiver appointed at the request of The Prudential Insurance
Company of America, PGIM Real Estate Finance, LLC, and Federal Agricultural Mortgage Corporation (collectively,
the “Lenders”) and that you are proposing to enter or have entered into an agreement for the engagement of Capstone
Capital Markets LLC (the “Capstone Agreement”) 2 in the form attached hereto, for sale of the parcels listed in
Appendix B to the Capstone Agreement, as it may be amended from time to time (the “Sale Property”), which Sale
Property is subject to the first priority deeds of trust and security interests of the Lenders, as applicable.

We are the third-party owner (“Owner”) of the following parcels (“Third-Party Parcels”), which we are willing to
include in the sale of the Sale Property:

[LIST HERE OR IN ATTACHMENT]

For this purpose, we hereby join in the Capstone Agreement to the extent, and only to the extent, described in this
letter agreement.

TERMS AND CONDITIONS

     1.   Joinder to Capstone Agreement. For purposes of the potential sale of the Third-Party Parcels as part of a
          Transaction(s), Owner joins in the engagement of Capstone as described in Section 1 of the Capstone
          Agreement, which Section is incorporated herein by reference.

     2.   Capstone Services. For purposes of the potential sale of the Third-Party Parcels, Capstone will provide the
          Transaction Services to Owner. Owner agrees to the provisions of Section 2 of the Capstone Agreement,
          which Section is incorporated herein by reference.

     3.   Cooperation. In furtherance of the potential sale of the Third-Party Parcels as part of a Transaction(s), Owner
          agrees (a) to cooperate with Capstone and the Prudential/FMAC Receiver, (b) that the Prudential/FMAC

2
 Capitalized terms not otherwise defined in this letter agreement have the meanings given in the Capstone
Agreement.

TRANSACTION ENGAGEMENT AGREEMENT                                                                          Page 29 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2             Filed 02/25/25          Page 47 of 51



         Receiver will be the point of contact with Capstone, and (c) that Capstone will take direction in the
         performance of the Transaction Services solely from the Prudential/FMAC Receiver. Owner further
         understands and agrees that the Prudential/FMAC Receiver and Capstone will have full access to information
         relating to the Sale Property, the Third-Party Parcels, and the operations of the Third-Party Parcels, which
         information may be provided by employees and advisors to the Owner.

    9.   Fees. To the extent of Transaction Value attributable to Third-Party Parcels in a Transaction(s), Owner will
         pay its share of the Transaction Fees provided for in Section 3(c) of the Capstone Agreement, which Section
         3(c) is incorporated herein by reference; provided that (i) any Transaction Fee attributable to the sale of
         Third-Party Parcels shall be included in determining the Transaction Fees counting towards the payment of
         the Minimum Transaction Fee; (ii) Owner shall not otherwise be responsible for the payment of any portion
         of the Minimum Transaction Fee and in no event will be liable for any portion of the Abandonment Fee; and
         (iii) in no event shall the Prudential/FMAC Receiver be liable for payment of the fees payable by Owner.

    4.   Representations. With respect to the Third-Party Parcels only, Owner joins in and makes the representations
         and agreements set forth in Section 7 of the Capstone Agreement.

    5.   Distribution of Proceeds. The proceeds of any Transaction under the Capstone Agreement that includes any
         Third-Party Parcels will be received by and distributed to Owner at or promptly after closing according to
         the percentage derived by dividing the total value of the Third-Party Parcels included in the Transaction by
         the Transaction Value attributable to the Transaction, as defined in Section 4 of the Capstone Agreement,
         which Section is incorporated herein by reference. For the avoidance of doubt, such distribution will be net
         of any costs and expenses incurred by the Receiver in administering the Third-Party Parcels.

    6.   Adoption of Remaining Sections of Capstone Agreement. Subject to the above modifications, Owner agrees
         to the remaining sections of the Capstone Agreement, which are incorporated herein by reference; provided
         that, notifications to the Company are to be given to:

         [INSERT OWNER ADDRESS FOR PURPOSES OF NOTIFICATION]


    7.   Governance. This Agreement incorporates the entire understanding between the parties hereto and supersedes
         all previous agreements relating to the subject matter hereof. This Agreement may not be amended or
         modified except in a writing signed by the parties. This Agreement shall be binding upon and inure to the
         benefit of the parties and their respective successors and assigns. If any term or provision of this Agreement
         shall to any extent be deemed illegal, invalid, or unenforceable, the remainder of this Agreement shall not be
         affected thereby, and each term and provision of this Agreement shall be valid and enforceable to the fullest
         extent permitted by law.



                                         [SIGNATURE PAGE FOLLOWS]




TRANSACTION ENGAGEMENT AGREEMENT                                                                        Page 30 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2            Filed 02/25/25         Page 48 of 51



Please indicate your agreement to the foregoing by signing at the places for your signatures below.

Sincerely,
[OWNER]


By:______________________________________
Name:
Title:

ACKNOWLEDGED AND AGREED:



Lance Miller
Solely in his capacity as
Court-appointed Receiver

CAPSTONE CAPITAL MARKETS LLC



_____________________________________
Paul Janson
Head of Investment Banking




TRANSACTION ENGAGEMENT AGREEMENT                                                                      Page 31 of 34
302469183
    Case 1:24-cv-01102-KES-SAB                  Document 157-2            Filed 02/25/25          Page 49 of 51




                                                    EXHIBIT D

                                      FORM OF LENDER CONSENT
          , 2025

Capstone Capital Markets LLC (“Capstone”)
176 Federal St., 3rd Floor
Boston, MA 02110
Attention: Skye Root

Mr. Lance Miller (the “Prudential/FMAC Receiver”)
Pivot Group
1230 Rosecrans Ave., Suite 530
Manhattan Beach, CA 90266


Re: Prospective sale of assets in connection with Receivership Orders entered by the United States District Court,
Eastern District of California, Fresno Division, 1:24-cv-1102-KES-SAB and 1:24-cv-01455-KES-SAB (the
“Court”)

Dear Lance:

We understand and acknowledge that you are the receiver appointed at the request of The Prudential Insurance
Company of America, PGIM Real Estate Finance, LLC, and Federal Agricultural Mortgage Corporation (collectively,
the “Lenders”) and that you are proposing to enter or have entered into an agreement for the engagement of Capstone
Capital Markets LLC (the “Capstone Agreement”) 3 in the form attached hereto, for sale of the parcels listed in
Appendix B to the Capstone Agreement, as it may be amended from time to time (the “Sale Property”), which Sale
Property is subject to the first priority deeds of trust and security interests of the Lenders, as applicable.

We are a third-party lender (“Third-Party Lender”) with a first priority security interest in the following parcels
(“Third-Party Parcels”), which we are willing to include in the sale of the Sale Property:

[LIST HERE OR IN ATTACHMENT]

We join in the Capstone Agreement to the extent, and only to the extent, described in this letter agreement.

TERMS AND CONDITIONS

     1.   Joinder to Capstone Agreement. For purposes of the potential sale of the Third-Party Parcels as part of a
          Transaction(s), the Third-Party Lender joins in the engagement of Capstone as described in Section 1 of the
          Capstone Agreement, which Section is incorporated herein by reference.

     2.   Capstone Services. For purposes of the potential sale of the Third-Party Parcels, Capstone will provide the
          Transaction Services to the Third-Party Lender. Third-Party Lender agrees to the provisions of Section 2 of
          the Capstone Agreement, which Section is incorporated herein by reference.

     3.   Cooperation. In furtherance of the potential sale of the Third-Party Parcels as part of a Transaction(s), the
          Third-Party Lender agrees (a) to cooperate with Capstone and the Prudential/FMAC Receiver, (b) that the
          Prudential/FMAC Receiver will be the point of contact with Capstone, and (c) that Capstone will take
          direction in the performance of the Transaction Services solely from the Prudential/FMAC Receiver. The
          Third-Party Lender further understands and agrees that the Prudential/FMAC Receiver and Capstone will

3
 Capitalized terms not otherwise defined in this letter agreement have the meanings given in the Capstone
Agreement.

TRANSACTION ENGAGEMENT AGREEMENT                                                                         Page 32 of 34
302469183
 Case 1:24-cv-01102-KES-SAB                    Document 157-2             Filed 02/25/25          Page 50 of 51



         have full access to information relating to the Sale Property, the Third-Party Parcels, and the operations of
         the Third-Party Parcels, which information may be provided by the owner, the employees and advisors to the
         owner, or the Third-Party Lender.

    4.   Fees. To the extent of Transaction Value attributable to Third-Party Parcels in a Transaction(s), the Third-
         Party Lender will pay its share of the Transaction Fees provided for in Section 3(c) of the Capstone
         Agreement, which Section 3(c) is incorporated herein by reference; provided that (i) any Transaction Fee
         attributable to the sale of Third-Party Parcels shall be included in determining the Transaction Fees counting
         towards the payment of the Minimum Transaction Fee; (ii) the Third-Party Lender shall not otherwise be
         responsible for the payment of any portion of the Minimum Transaction Fee and in no event will be liable
         for any portion of the Abandonment Fee; and (iii) in no event shall the Prudential/FMAC Receiver be liable
         for payment of the fees payable by the Third-Party Lender.

    5.   Representations. With respect to the Third-Party Parcels only, the Third-Party Lender joins in and makes
         the representations and agreements set forth in Section 7 of the Capstone Agreement.

    6.   Distribution of Proceeds. The proceeds of any Transaction under the Capstone Agreement that includes any
         Third-Party Parcels will be received by and distributed to the Third-Party Lender at or promptly after closing
         according to the percentage derived by dividing the total value of the Third-Party Parcels included in the
         Transaction by the Transaction Value attributable to the Transaction, as defined in Section 4 of the Capstone
         Agreement, which Section is incorporated herein by reference. For the avoidance of doubt, such distribution
         will be net of any costs and expenses incurred by the Receiver in administering the Third-Party Parcels.

    7.   Adoption of Remaining Sections of Capstone Agreement. Subject to the above modifications, the Third-
         Party Lender agrees to the remaining sections of the Capstone Agreement, which are incorporated herein by
         reference; provided that, notifications to the Company are to be given to:

         [INSERT THIRD-PARTY LENDER ADDRESS FOR PURPOSES OF NOTIFICATION]

    8.   Governance. This Agreement incorporates the entire understanding between the parties hereto and supersedes
         all previous agreements relating to the subject matter hereof. This Agreement may not be amended or
         modified except in a writing signed by the parties. This Agreement shall be binding upon and inure to the
         benefit of the parties and their respective successors and assigns. If any term or provision of this Agreement
         shall to any extent be deemed illegal, invalid, or unenforceable, the remainder of this Agreement shall not be
         affected thereby, and each term and provision of this Agreement shall be valid and enforceable to the fullest
         extent permitted by law.




TRANSACTION ENGAGEMENT AGREEMENT                                                                        Page 33 of 34
302469183
 Case 1:24-cv-01102-KES-SAB          Document 157-2   Filed 02/25/25   Page 51 of 51



Sincerely,
[LENDER]


By:______________________________________
Name:
Title:

ACKNOWLEDGED AND AGREED:



Lance Miller
Solely in his capacity as
Court-appointed Receiver

CAPSTONE CAPITAL MARKETS LLC




Paul Jason
Head of Investment Banking




TRANSACTION ENGAGEMENT AGREEMENT                                           Page 34 of 34
302469183
